Case 2:23-cv-13209-JJCG-DRG ECF No.1, PagelD.1 Filed 12/15/23 Page 1 of 52 AQ

TRICIA THOMPSON, Wayne County Caizen, Taxpayer,
Mae AAT OF INTERESTED CITIZENS AND TAXPAYERS OF WAYNE COUNTY,
FOR ALL SIMILARLY EFFECTED TAXPAYERS AND CITIZENS
Plaintiffs,

Case: 2:23-cv~13209
- Assigned To : Grey, Jonathan J.C.
Referral Judge: Grand, David R.
Assign. Date : 12/15/2023
Ns-

Description: PRIS DERRICK CARDELL-SMITH V PUBLIC
INTEGRITY UNIT ET AL (SS)

Height, Dearborn Police Officer,
PATRICIA PENMAN, Doat Stor. Public Intogrily Unit,
PATRICIA PENMAN, investigator for Wayne County fe
CARL CARPENTER, Coconspiaio, ee ets False Hape Testimony,

Defendants, I

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Lt POOR QUALITY ORIGINAL
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Case 2:23-cv-13209-JJCG-DRG ECF No.1, PagelD.2 Filed 12/15/23 Page 2 of 52

COMPLAINT FOR CIVIL ACTION AND CRIMINAL ACTION
FOR VIOLATIONS OF UNITED STATES CODE @ 18 USC 371
AND 18 USC @ 31 SEC 641 AND PENAL CODE 424 THROUGH JOINT CONSPIRACY
BY DEFENDANTS INDIVIDUALLY & JOINTLY TO MISAPPROPRIATE PUBLIC FUNDS

JUSTICE SYSTEM IN A VAST ENTERPRISE TO SECURE ALL TIONS &
7 STU ALL ALLEGE 5 P WA iS

ea boxe

Now comes the Plaintiffs Derrick Lee Cardello-Smith, #267009, Paralegal-Legal
Assistant-Legal Writer-Probable Cause Conference Litigator-Wrongfully Convicted Prisoner,
Citizen, Former Taxpayer, Wayne County Resident, and Patricia Lee Thompson, Citizen,
Taxpayer, Wayne County Resident, on Behalf of the Citizens of Wayne County, and Taxpayers
of Wayne County, and ail those Similarly Situated and hereby brings this Civil and Criminal
Complaint against the Named Defendants Individually and Jointly and makes the Claims that
the Defendants have Violated vary specific Civil and Criminal Elements of the United States
Codes and Penal Codes in the Furtherance and Sole Purpose of Securing Funds and
Misappropriating Public Funds that for their own personal gain, personal interests and the
Interests of Their Own Gain and to Result in the Illegal, WRONGFUL INVESTIGATION AND
VIOLATION OF THE PLAINTIFFS RIGHTS of This Plaintiff and Other Similarly Situated
Plaintiffs that have been the victims of the Defendants actions where the acts described within
the Brief in Support of the Complaint detail and are detailed and specifically used by the
Defendants to operate and continue their criminal enterprise for the sole purpose of being able
to Prosecute Innocent Citizens and Then Get the Investigation Stopped upon proof of the said
corruption being founds and maintained by stopping said investigation into said illegal police
misconduct.

Plaintiffs will detail said documents in the forthcoming Brief in Support of the
Compiaint.

Respectfully Yours, QV ps _fpreree' 2023
(L beset lbeps CARDELLO-SM PATRICIA LEE THOMPSON

#267009-PLAINTIFF IN PRO PER PLAINTIFF INPRO PER
PARALEGAL-LEGAL ASSISTANT CITIZEN-TAXPAYER-RESIDENT
PROBABLE CAUSE CONFERENCE 23751 BROWNSTOWN SQUARE
LITIGATOR-RESIDENT OF WAYNE ~—s APT # 204

COUNTY-IONIA CORRECTIONAL BROWNSTOWN TOWNSHIP, MI 48174
FACILITY-1576 W. BLUEWATER HWY.

IONIA, MI 48846

Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.3 Filed 12/15/23 Page 3 of 52

ADDRESS OF ALL DEFENDANTS

PUBLIC INTEGRITY UNIT, Wayne County Prosecutors Office,-1441 St. Antoine Sveet,
ao eteag | UANSEN (PAGG05), Public Integrity Unit Officer, 1441 St. Antoine Street, Detroit,
Mi

WAYNE COUNTY BUDGET & MANAGEMENT DIVISION,-500 Griswold Street, Detroit, Mi
SEMEN T & BUDGET DIVISION OF WAYNE COUNTY,-500 Griswold Street-Detrot,
ow OPERATIONS DIVISION OF WAYNE COUNTY,500 Griswold Streef-Detroit, Mi
WAYNE COUNTY SHERIFFS DEPARTMENT JAIL TRANSPORTATION STAFF.2727
Woodward Avenue-48202-26

WAYNE COUNTY SHERIFFS DEPARTMENT JAIL HOUSING ADMINISTRATOR,-2727
Woodward Avenue-Detroit, Mi 48202-25

WARREN C. EVANS, Executive of Wayne County-500 Griswold Street-Detroit, Ml 48226
WAYNE COUNTY CORPORATION COUNSEL -500 Griswold Street-Detroit, Mi 482256
KRISTOFFER BUTLER, Wayne County Corporation Counsel,-500 Griswold Street-Detroit, Mi

PATRICIA PENMAN, Wayne County Sheriff's Depuly,-2727 Woodward Avenue-Detroit, Mi
PATRICIA PENMAN, Dearbom Height, Dearbom Police Officer,16089 Michigan Avenue,

Dearbom,Mi

Mngoad PENMAN, Lead Investigator, Public Integrity Unit1441 St Antoine Strest-Detrot,

PATRICIA for -1441 ‘
DENMAN, Investigator Wayne County Prosecutors Office, St. Antoine

PATRICIA PENMAN, Coconspirator with Carli Carpenter,-1441 St. Antoine Street-Detroz, Mi

PATRICIA PENMAN, of to Carli Carpenter for False Testimony,-1441 St
ices Gretna Me tcn, Cocrrmma ais tao an toner
CAN CAEN Recipient of Public Funds for False Rape Testimony,-5615 Fairgrove
KYM 'L. WORTHY (P5575), Wayne Courty Proseculor-1441 St. Antoine Street Detroit Mi
48226

Dare Me Rezo TY (P3887S), Director of the Public Integrity Unit-1441 St. Antcine Streot
DEYANA UNIS (P91361), Assistant Wayne County Prosecutor's Office-1441 St. Antoine

Mi 48226
DEYANA UNIS (P81361) Assistant US Altomey,-Four Seagate-308, Toledo, OHIO 43604

CAPACTTY DEFENDANTS SUED IN
All defendants are Sued in their INDIVIDUAL AND OFFICIAL CAPACITY

(3)

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Case 2:23-cv-13209-JJCG-DRG ECF No.1, PagelD.4 Filed 12/15/23 Page 4 of 52

JURISDICTIONAL STATEMENT

The Eastern District of Michigan has Sole Jurisdiction over this case for the
following Reasons:

1. The Defendants are all BASED AND WORK IN THE COUNTY OF WAYNE
WHICH IS IN THE EASTERN DISTRICT OF MICHIGAN.

2. DEFENDANT DEYANA UNIS OPERATED IN HER CAPACITY AT THE TIME
OF THE FUNDS OPERATIONS AND MISAPPROPRIATIONS VIOLATIONS IN WAYNE
COUNTY WHICH IS IN THE DISTRICT OF MICHIGAN-EASTERN.

3. Defendant CARL! CARPENTER, COMMITTED THE ACTS OF THE FALSE
TESTIMONY IN WAYNE COUNTY and that is in the EASTERN DISTRICT OF MICHIGAN.

4, Plaintiff PATRICIA LEE THOMPSON RESIDES IN WAYNE COUNTY and that
is the Sole Jurisdiction of the EASTERN DISTRICT OF MICHIGAN.

5. Plaintiff DERRICK LEE CARDELLO-SMITH WAS TAKEN TO WAYNE
COUNTY FOR THE MISUSE AND MISAPPROPRIATION OF PUBLIC FUNDS AND SAID
ACTIONS OCCURRED IN WAYNE COUNTY WHICH IS IN THE EASTERN DISTRICT OF
MICHIGAN.

6. Plaintiff was in fact a Resident of Wayne County During the Time of the Acts
claimed by the Plaintiffs against the defendants.

7. The DISCOVERY OF THE ILLEGAL ACTS TOOK HAPPENED In NOVEMBER
2022 WHEN A FREEDOM OF INFORMATION ACT REQUESTED WAS COMPLETED BY
LAWYERS AND RESEARCH STAFF OF THE LAW OFFICES OF DAVID L.MOFFITT AND
THOSE DOCUMENTS WERE PROVIDED TO THE PLAINTIFF IN NOVEMBER 2022,UPON
THEIR RECEIPT OF THE DOCUMENTS FROM THE WAYNE COUNTY PROSECUTORS
OFFICE AND THE ACTS WERE DISCOVERED AS HAVING BEEN COMMITTED BY THE
DEFENDANTS ALL NAMED IN THIS ACTION AND AS SUCH, THE JURISDICTION OF
JHE EASTERN DISTRICT OF MICHIGAN IS CONFERRED WITHIN THIS COURTS LEGAL

8. Plaintiff Resides in lonia by Force and Not Choice and IT IS NOT SUBJECT TO
ANY TRANSFER OF THE CASE TO THE WESTERN DISTRICT OF MICHIGAN AS THAT
THESE ACTS OCCURRED IN WAYNE AND THE EASTERN DISTRICT AND THE
WESTERN DISTRICT JUDGES ALWAYS RULE AGAINST THE PLAINTIFF NO MATTER
WHAT IT IS AND THESE CRIMINAL AND CIVIL ACTS SHOULD ONLY BE ALLOWED TO
REMAIN IN THE JURISDICTION OF THE EASTERN DISTRICT OF MICHIGAN.

9. Plaintiff maintains that all jurisdiction of this case must and does remain in the
jurisdiction of the Eastern District of Michigan.

AMOUNT OF DAMAGES SOUGHT

Plaintiffs Seek a total of $200,000,000.00 (TWO-HUNDRED MILLION DOLLARS)
in COMPENSATORY, PUNITIVE AND MONETARY DAMAGES and that ALL MONEYS ARE
RETURNED BACK TO THE TAXPAYERS AND CITIZENS OF WAYNE COUNTY.

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Case 2:23-cv-13209-JJCG-DRG ECF No.1, PagelD.5 Filed 12/15/23 Page 5 of 52

PATRICIA LEE THOMPSON, Wayne County Cifizen, Taxpayer,
ON BEHALF OF INTERESTED CITIZENS AND TAXPAYERS OF WAYNE COUNTY,
FOR ALL SIMILARLY EFFECTED TAXPAYERS AND CITIZENS

PUBLIC INTEGRITY UNIT, Wayne County Prosecutors Office,

JOSEPH P. JANSEN (P48906), Public Integrity Unit Officer,

WAYNE COUNTY BUDGET & MANAGEMENT DIVISION,

MANAGEMENT & BUDGET DIVISION OF WAYNE COUNTY,

SPECIAL OPERATIONS DIVISION OF WAYNE COUNTY,

WAYNE COUNTY Sheriif's DEPARTMENT JAIL TRANSPORTATION STAFF

PATRICIA PENMAN, Wayne County Sheriff's Deputy,

PATRICIA Dearborn Height, Dearborn Police Officer,
PATRICIA Lead Investigator, Public Integrity Unit,

PATRICIA investigator for Wayne County Prosecutors Office,
PATRICIA with Casi

CARL! BOIKKE Coconspirator,-

CARL! CARPENTER, Coconspirator with Patricia Penman,-5615 Fairgrove Road,

CARL! CARPENTER, Recipient of Public Funds for False Rape Testimony,

KYM L. WORTHY (P38875), Wayne County Prosecutor,

KIM (KYM) L. Worthy (P38875), Director of the Public Unit,

DEYANA UNKS (P91361), Assistart Wayne County Prosecutors Ofice Representative- Agent.
DEYANA UNIS (P81361) Assistant United States Atiomey.

PENMAN, Coconspirator Carpenter,
PATRICIA PENMAN, Payee of Money to Carli Carpenter for False Testimony,
DIPIOLA-CARPENTER,

PROOF OF SERVICE
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.6 Filed 12/15/23 Page 6 of 52

| swear and declare that | mailed one copy of this Action to the Defendants at their
address above PRIOR TO FILING THE COMPLAINT FOR CIVIL/CRIMINAL ACTION by
using the Methods of CERTIFIED MAILED, RETURN RECEIPT REQUESTED AND
RESTRICTED DELIVERY by placing said SUMMONS AND COMPLAINT In envelopes and
Mailing to EACH DEFENDANT IN THEIR INDIVIDUAL AND OFFICIAL CAPACITY and by
Mailing to the Agent of that Party and Person Named as a Party to the Above cause and by
Mailing to said Defendants at their ADDRESSED OF RECORD AND THIS BEING DONE ON
THE DATE OF DECEMBER 4, 2023 MONDAY IN THE IONIA COUNTY CORRECTIONAL
FACILITy for Mailing of said to those Individually Addresses Defendant and in order
to Ensure that EACH IS GIVEN NOTICE OF THE SUMMONS AND THE
COMPLAINT AND PRIOR TO FILING IT IN THE U.S. DISTRICT COURT.

This is being done in respect to and in conjunction with ALL RULES OF SERVICE
UPON THE DEFENDANTS AND IN ACCORDANCE WITH THE RULES OF SERVICE FOR

Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.7 Filed 12/15/23 Page 7 of 52

The Claims against each defendant are detailed in the Accompanying Brief in
Seon and Request for Investigation into the Defendants, attached to this Summons and
Complaint.

DEMAND FOR A JURY TRIAL
Plaintiffs Jointly Request and DEMAND A JURY TRIAL and that the Jury Trial is in
Fact Conducted in the Jurisdiction of the Eastem District of Michigan and that it is conducted in

fron of a Jury of the Plaintiffs Peers, as Guaranteed by the Constitution of the United States and
in accordance with the laws and Rules of Federal Civil Procedure.

p L 7 December 4, 2023

i Patricia Lee Thompson
Plaintiff in Pro Per Plaintiff in Pro Per
267009 23751 Brownstown Square
1576 W. Bluewater Highway Apt # 204
lonia, MI 48846 Brownstown Township, MI 48174
—" “CgS€2:23-tv-13209-JICG-DRG™~ ECF No. 1; PagéelD-8 Filed 12/15/23” Page 8 of 52

PROFESSIONAL MISCONDUCT, VIOLATIONS OF MICHIGAN
COMPILIED LAW, VIOLATION OF RULES AND CANONS OF
PROFESSIONAL CONDUCT, DILIBERATE ETHICS VIOLATIONS,
WILLFUL-WONTON-INTENTIONAL-DILIBERATE VIOLATIONS OF
COMPLAINANTS STATE AND FEDERAL CONSTITUTIONAL RIGHTS

~ AS GUARANTEED BY THE 14™ AMENDMENT

STATEMENT OF FACTS

Deyana Unis, while acting m her official capacity as an Assistant Prosecuting Attorney as
employed by Kym (Kim) L. Worthy elected Wayne County Prosecuting Attomey, did contrary to
Michigan Complied Law commit acts upon Complainant Derick Lee Cardello-Smith the

following described acts:

1. SUBORN PERJURY TO OBTAIN A CRIMINAL CONVICTION, of Complainant where
Attorney Unis was made aware by her client, Carli Boike Dipiola~-Carpenter, in 2018 that
she did not wish to proceed in the criminal prosecution of the complaint lodged with the
Detroit Police Department in October 1997 because no sexual assault, physical assault or -
any.other related act contrary to any Michigan Law or statute had been committed upon
her person by Complainant, Derick Lee Cardello-Smith.

2. It was only after Carli Carpenter received $4,000.00 in payment from Lead Investigator
PATRICIA PENMAN in 2018 that she agreed to proceed. with the criminal prosecution.

3. SOLICITATION OF TESTIMONY BY PATRICIA PENMAN AND DEYANA UNIS TO
OBTAIN CRIMINAL CONVICTION, under the threat from Deyana Unis to charge Carli
Carpenter with the filing of a false report and Ms. Carpenter informing Deyana Unis and
Penman of her need for money and drugs did the parties agree on a $4,000.00 payment to.
proceed criminally against Cardello-Smith.

4. VERIFICATION OF PAYMENT BY LEAD INVESTIGATOR PATRICIA PENMAN TO
CARLI CARPENTER FOR FALSE TESTIMONY. The attached report-verifies that
Patricia Penman met with and provided Carli Carpenter $4,000.00 in exchange for her
testimony against Complamant Cardello-Smith.

5. DEYANA UNIS VIOLATED MCR 6.201B5 “ANY OTHER AGREEMENT”, in failing |
to disclose her knowledge of this payment made to Carli Carpenter as proven by the
Wayne County Prosecutors office possession of said attached report kept by Deyana Unis

| during the criminal proceedmgs against Complamant from the time period of December,
2018 through sentence date of May 2, 2019, and released only through a Freedom of
Information Act Request in October, 2022 through the Law Offices of David Moffitt and
Associates as verified by attached letter. This has resulted in Attommey Unis committing
Professional Misconduct and Prosecutor Neglect.

6. 16™ JUDICLAL CIRCUIT COURT OF MACOMB COUNTY CASE #2023-001466-CK
CONTAINING ADMISSION OF ADMITTING CRIMINAL PERJURY OF ATTORNEY

~~" Casé 2723-CV-13209-JICG-DRG ECF No. T, PagéID:9° Filéd-12/15/237 Pagé 9 of 52

UNIS’S CLIENT CARLI CARPENTER TO OBTAIN WRONGFUL CONVICTION IN
WAYNE COUNTY CIRCUIT COURT’S CRIMINAL DIVISION. Complainant
Cardello-Smith, while the Defendant in Criminal Case #2019-000756-01-FC and
representing himself, in the case prosecuted by Attomey Deyana Unis (See People of
State of Michigan v Derrick Lee Cardello-Smith 2019) was contacted via U.S. Mail by
Carli Carpenter regarding her testimony in said criminal case. During which time,
Complainant CardeJlo-Smith and Carli Carpenter entered into a Settlement Agreement in
the Macomb County Circuit Court (see Derrick Lee Cardello-Smith v Carli Boike
Dipiola-Carpenter case no 2023-001466-CK, August 2023), during said court
‘proceedings now Defendant Carpenter made multiple admissions under oath to the
following: ~
a. Filing a false Police Report of criminal sexual conduct upon her person by
Complainant Cardello-Smith on 10/12/1997,
b. Admitting to accepting payment of $4,000.00 from Deyana Unis’s Team,
c. Admitted perjured testimony in criminal case agamst Complainant,
d. Admitted lying to Mc Carpenter about criminal sexual conduct by Complainant
Cardello-Smith in order to save mamriage,
e. Admitted severe drug use during testimony in criminal court against Cardello-Smith, -
f. Admitted contact with Cardello-Smith about activities described in. criminal case as
weighing on her conscious, .
g. Admitted to Contractual Agreement between Cardello-Smith and Capenter mvolving
money for clean and sober living away from husband, transportation arrangements, new
residence, money to cover home expenses and offset Peer Support Specialist expenses
and ceimbursing Cardello-Smith his $5,000.00 in order to provide tme and accurate
testimony in the criminal court without the threat of being charged with filing a false
police report,
h. Admitted to rehearsed, coached, pre-prepared statements, testimony and victums
impact summaries provided to Ms. Carpenter by Patricia Penman with full support of |
Deyana Unis in the entire criminal proceedings in the 36 District Court and the Wayne
County Circuit Court, .
i. Full admission and submission of documents in civil case confinning perjury,
solicitation of witnesses/victim testimony to obtain wrongful conviction,

7. ATTORNEY UNIS COMMITTED PROFESSIONAL MISCONDUCT WHERE SHE
KNEW LEAD INVESTIGATOR PATRICIA PENMAN AND COMPLAINANT
CARDELLO-SMITH HAD A PRIOR ROMANTIC INTIMATE RELATIONSHIP where
Complainant ended said relationship in the 1990’s resulting in Penman’s vengeful quest
to ensure Complainant remains mcarcerated on false criminal charges, as proven by said
reports that Attorney Unis was completely aware of the prior relationship between
Cardello-Smith and Patricia Penman during her employment with the Dearbom Police
Department as proven by documents and admissions submitted on the Court Record in
~-Case 2:23-cv-13209-JICG-DRG ECF No. t; PagetD-10 - Filed 12/15/23 Page 10 of 52°

civil case 23-001466-CK Contractual Agreement between both parties of Smith and
Carpenter 2023.

REQUEST FOR INVESTIGATION INTO THE DEPRIVATION OF COMPLAINANT’S CIVIL
RIGHTS AND VIOLATION OF MICHIGAN COMPILED LAW STATUTES, RULES,
POLICIES, PROCEDURES, STATE LICENSING, COUNTY RULES, PROCEDURES &
LAWS, ETHICS VIOLATIONS, PROFESSIONAL MISCONDUCT AND CRIMINAL ACTS
BY THE PARTY OF DEYANA UNIS AGAINST DERRICK LEE CARDELLO-SMITH
#267009.

|O-15-2022 _

Date

1576 W. Bluewater Hwy
- Ionia, Michigan 48846 -

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2:23-Cv-13209-JICG-DRG ECF No-t,; PagetD- IT Fifed12/15/23° Page tiherazs3

STATE OF MICHIGAN

° CASE NO: 2018722163
COMPLAINT
36TH DISTRICT COURT DETROIT © FELONY
3rd Judiclal Circult : :
The People of the State of Michigan Offanse Information
. Police Agency / Report No.
NS B2WCPO 18-18117 .
DERRICK LEE SMITH 82-18722163-01 | Date of Offense
: {OH 2/1997

Place of Offense .
E. 8 MILE AND SCHOENHERR, DETROIT
Complainant or Victim .

CARLI ANN CARPENTER (BOIKE)
Complaining Witness .
DETECTIVE PATRICIA PENMAN

STATE OF MICHIGAN, COUNTY OF WAYNE .
The complaining withess says that on the date and the location stated above, the defendant, contrary fo law,

COUNT 1: CRIMINAL SEXUAL CONDUCT - FIRST DEGREE (Multiple Variables)

did engage in sexual penetration, to-wit penis fo mouth (fellatio), with Carli Ann Bolke, under the following clrcumstance(s),
during the commission of the felony of kidnappirig-and/pr defendant was armed witha weapon or any article sed or fashioned in
a manner to. Jead the victim to. reasonably believe Tt fo he a weapon, and/or defendant effected sexual penetration through force
or coercion and the victim sustained personal injury; contrary to MCL 750.5206. (750.5203) -

This is a Tler Ill Offense under the Sex Offender Registration Act (SORA) unless the court finds that the vieim was
between the ages of 13 to'18 Inclusive, consented fo the conduct, and the defendant was not more than 4 years older.than the

Take nolice tat pursuant fo fACL 333.5129, upon bindover to circuit court-or recorder's court, the district court judge shall .
order the defendant to ba tesfed for sexually transmitted infection, hepatifis B infection, and for the presence of HIV or an
antibody to HIV # the Judge defecmiinss there ja reason to belleve the violation involved sexual penetration of exposure to a body
fluid of the defandant. Ifthe district Judge determines that testing is not required, upon conviction, the court must order the —~
defendant to be tested. oo

FELONY: Life: mandatory lifefirne electronic monitoring; mandatory AIDS/STD testing, DNA to be taken upan arrest The Court
may Impose a.conseculive sentence under MCL 750.520b(3)

GOUNT 2: GRIMINAL BEXUAL CONDUCT - FIRST BEGREE (Multipis. Vartables]

did engage it saxual penetration, foam penis to genital opening, with Cari Ann Bolke, under the following circumstance(s),
during the commission of the felony of idnapping andfor defendant was armed with a weapon Of any article used or fashioned in
a manner to ead the victim fo reasonably believe. it to be a weapon, and/or defendant effected sexual penetration through force

or oercion and the victim sustained personal injury, contrary to MCL 750.520b, [750.5206]
SORA NOTICE a

This is a Tier Ill Offense under the Sex Offender Registration Act (SORA) unless the court finds that the victimrwas
between the ages of 13 tp 15 inclusive, consented in the conduct; and the defendant wes not more than 4 years older than the
victim. MCL 28.722(w)(y). :
HIV/STD TESTING NOTICE / .

Take notice that pursuant to MCL 333.5129, upon bindover fa cirouif Gourt of recoiter's court, the district court judge shall .

- order the deferidant fo be tested fer sexually transmitted infacton, hepatitis B Infection, and for the presence of HIV of an

antibedy to HIV lf the Judge determines there Is reason to bellave.the violation involved sexual penetration or exposure to a body
fluld of the defendant. Ifthe district judge determines that testing Is not required, upon conviction, the court must order the
defendant fo be tested.
FELONY: Life; maridatory Efetime electronic monitoring; mandatory AIDS/STD testing; DNA to be taken upon arrest. The Court
may impose a consecullye sentence Uncer MCL 750,520b(3)

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COUNT 3: CRIMINAL SEXUAL CONDUCT - FIRST DEGREE (Muttipte Variables)

did engage In sexual penetration, to-wit penis to genkal opening. with Carii-Ann Boke, imder the following circumstance(s),
during the commission of the felony of Kidnapping andior defendant was armed with a weapon or any atticla used or fashioned in
- @ manner to lead the victim to reasonably believe it to be a weapon, and/or defendant effected sexual penetration through force
or coercion and the victim sustained personal injury; contrary fo MCL 750.520b. [750.520B]

SORA NOTICE .

This is a Tier II) Offense under the Sex Offender Registration Act (SORA) unless the court fids that the victim was »
befween the ages of 13 to 15 inclusive, consented to the conduct, and the defendant was not moréthan 4 years older than the
victim, MCL 28,722(w)(h). : .
HIVISTD TESTING NOTICE

Take potice that pursuant io MCL 333.5129, upon bindover ts cirouitcourt or recorder’s court the district court Judge shall
order the defandant to be tested for sexually transmitted infection, hepatitis B infection, and for thé presence of HIV or an
antbady to HIV Ifthe judge delermines there is reason {0 believe the vidlation invalwed seraal penetratian or exposure fa a body
fluid of the defendant ‘If the district Judge determines that testing is not required, upon canviction, the court must order the
defendant to be-tested. : , .

FELONY: Life, mandatory lifetime electronic monitoring; mandatory AIDS/STD testing; DNA to be taken upon artest. The Court
may impose a consecutive sentence under MCL 750.520b(3) :

HABITUAL OFFENDER - THIRD OFFENSE NOTICE .
Take notice that the defendant was twice previously convicted of a felony of an attempt to commit a felony in that on or

about (2/01/98,-he of she was egnvicted of the offense of larceny by false personation in violation of 750.3834 in the Recorder's
Court for City of Detroit, State of Michigan,

And anor about 06/11/93, he or she was convicted of the offense of attempt felony larceny over $100 in violation of
750.356a In the 16th Circuit Court for County of Macomb, State of Michigan. :

‘Therefore, defendant is subject to the penalties provided by MCL 769.11. [769.11]
_ PENALTY: Twice the maximum sentence on primary offense of a lesser term. The maximum penalty cannot be less than the
maximum term for a first conviction. . a.

Court shall order law enforcement to collect a DNA identification profiling sample before sentencing or disposition, if nat faken
at arrest . . .

The complaining witness asks that defendant be apprehended and dealt with according to faw.

. We (rar authorized on f2 IG | | g byt. Complaining Witness signature
ARS Da AG { . | Subseribed and sworn to bafore ms an _
: " Date
Deydn¥ Unis P81361
Judge/Magistrate/Clerk ~~" Bar no.

See
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. pervice, Submitted, and File
State of Michigan)

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County of Tonia}

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~, Mr- Derrick

“Case against Car
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Parties end Persons

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iL obs

Lee Cardello-Smith, Plaintiff in the

TL pipicola—Carpenter, do swear and deciare
into & Contractual Agreement between the

LEE CARDELLO-SMITH during
, 2023 in which I agreed to provide Carli

order to get herse

of CARLI DIPIOLA-CARPENTER apd I, DERRICE

financial provisions she needed in

1f Cleaned Up and ‘dried out and recovered

From her Extensive Gubsance Abuse History and depeniiémce on

Gubstance Abuse and to
amount of $5,000.00
period gf 10 Months

exchange for said p& ts made by me directly to Carli

. Dipiola-Cerpenter
her with @ Place

is with George Thomas —

, cor her

to rest and recover and get cleaned and chat

Preston at 7541. Yale Road- Avoca

428006, and my money wes in bis custedy and he gave it to her

and she agreed to. fell the Truth as to her

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VERIFICATION

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true and May B, 2023

#267009 : comrectional Facility

157 ew _ Bluewater Highway
Tonia ' MI 48846

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You have received a fPdY letter, the fastest way to get mail | _

From : DERRICK SMITH, ID: 267009

To: Humanity For Prisoners, CustomerID: 13305156
Date : 7/2/2023 7:34:33 PMEST, Letter ID: 1807557408
Location: }CF .
Housing : OSO63TOPAL

Hella to you adn hil .

| heard a rumor that said that Humanity for Prisoners is now under new management??

Is any of that true? - :

| also. wanted to thank you very much forgetting those Police Reports to me from the City. ‘of Detroit Police
Department and I thank you also for getting me the Wayne County Prosecutor's Office file.. .

it means alot to me because there were Excuipatory documents in it that'l never got when I was representing myself ~
and, it was required to be provided to me and they never gave them to me... They are some Bad People and they
have the Power of the Law at their disposal and I just cannot thank you enough for your assistance and your help.

Thank you very much and | look forward to being helpful for you agency again in the future. .

Sincerely yours..

Derrick Lee Cardello-Smith, #267009

JPay “Fell your fiends and family to visit www Jpay. com fo wiite fettars and Send money!

4S
~~ —-Cgse 2: AS LAs OOHCE DRE ECE NO: L PagelD-16° Filed'12/15/23° Page 16 of 52

LAW OFFICES OF DAVID L. MOFFITT & ASSOCIATES

ATTORNEYS AND COUNSELORS AT LAW
THE BINGHAM CENTER.

30800 TELEGRAPH ROAD, SUITE 1705
BINGHAM FARMS, MICHIGAN 48025
TELEPHONE (248)-644-0880
FACIMILE (248)-307-9545
DLMOFFITTASSOC@AMERITECE.NET
VISIT US ON THE WEB AT WWW.LAWYERMOFFITT.COM

November 3, 2022

Derrick Smith #267009

Tonia Correctional Facility

1576 W. Bluewater Highway
Tonia, MI 48846

Re: FOIA Documents

~

Dear Mr. Smith: Z

Please find enclosed the FOIA documents that we received on your behalf from the Wayne ~
County Prosecutor’s Office. Anything within these sets of documents that have been redacted
were done so by Wayne County. Thank you.

Yours tly,
Patrick Kinney
Chief of Legal Stafi/Chief Paralegal ’

‘LAW OFFICES OF DAVID L. MOFETIT
& ASSOCIATES, PLLC

4@
SUPPLEMENT? terGNiwintae 02 JIC G-DRG | PAW Re 4 Pagslbay Fite

Alias .
JIMEREPORTED > OSS Gbetro ae Rage TF Bae
937 AM 11001 7
LOCATION OF INCIDENT VENUE
INCIDENT REPORT E. 8 Mile and Schoenherr Detroit MI 82/99
COMPLAINIANT | TELEPHONE NO.
Carli Carpenter a
ADDRESS: STREET & NO. : cry STATE UP CODE
INCIDENT STATUS
0 OPEN 4 LEIN VALIDATION 2 UNFOUNDED 3 EXCEPTIONAL CLEARANCE
4 INACTIVE 5S CLOSED & OPEN PENDING RELEASE OF PROPERTY J TOT OTHER POLICE DEPT
42/08/2018.

| met with Carli Carpenter at unofficially and provided her with the

$4,000.00 she wanted for her testimony

02/19/2019

| contacted George Preston | made an audio recording of the conversation which has been saved to
the electronic file.

George indicated he was with Smith on the night of the assault. Review recording for the detailed
interview. (At the preliminary exam, where Smith represented himself, Smith stated he had 2
witnesses and that 2 other people were with him that night.)

03/05/2019
| contacted Kathy Preston. Kathy hung up on me.

| contacted George Preston who indicated | had called his wife and said Derrick is his lawyer and that
he is representing himself and he has been instructed for me fo contact him.

Kathy Preston left me the following message, Hello this is Kathy Preston | spoke with Patti earlier and
| hung up on her because that was a dark time in my life and | don't want to go hash down that road.
Derrick is my friend, George is my husband and | will not be a witness for the prosecution, will not
and don't call me again."

03/11/2019

| contacted Kathy Preston. As soon as | identified myself she hung up on me.

04/16/2019

Page investigated- by Officers Signature Received by

1/2 D/Patricia Penman

£7
= Case, 2:23-pv-43209-JICG DRG FEF No-t, PagelD-18 Pd 24175/23--Page 18 of 52° woes

_

(] Additional incident Page No.

D/James Heberger and | responded to and served a subpoena to
George Preston for the Motion hearing 04/18/2019. We then responded to several addresses in an

a
attempt locate Kathryn Preston to serve a subpoena. ae
there per resident), 8270 Logana Rd Greenwood MI (no house), Midoes

live there per father-in-law James Preston Sr.), 321 Mary St Yale MI (does not live there per

resident), 3 Gratiot Blvd Marysville MI (does not live there per resident)

04/17/2019

| responded to the Dearborn Police Department for a scheduled polygraph test for Smith. Smith
who requested the polygraph test, indicated he did not wish to take the test because he plans to
enter a plea on this case.

04/18/2019

Smith entered a-plea of no contest based on a Cobbs agreement of 17.5- 35 years. The guidelines in
this case are 15-Life and the prosecutor plea offer would have been 20-40years.

Sentencing set for 05/02/2019.
04/23/2019

DIMichael Sabo returned the SAK and fingerprint lift to DPD property.
05/02/2019

Smith was sentenced to 17.5 to 35 years MDOC, Carli Carpenter provided a victim impact statement.
She was unable to attend due to her son being sick.

Page Investigated by Officers Signature Received by

2/2. D/Patricia Penman

48
poprovle GSES: 23-CV-18209-JICG-DRG ECHR fBaggiD.19--Fited 12/15/23 SP aas TF S2-—

STATE (OF MICHIGAN CASE NO.

JUDICIAL DISTRICT Colduls.
16th JUDICIAL CIRCUIT SUMMONS 2023- OO \Yiy\o -cx
MACOME> COUNTY
Court address

Court telephone no.

40 N. MAIN S’‘T., MOUNT CLEMENS, MI 48043 586-469-5351

PlaintiPs name, adi ciress, and telephone no.
DERRICK LEE <CARDELLO-SMITH #267009

Defendant's name, address, and telephone no.

Tonia Maximum. Correctional Facility, 1576 W. Bluewater CARLI DIPIOLA-CARPENTER
Hwy, Ionia, MI <48846 AND .- Vv 7541 Yale Road
PATRICIA LEE. THOMPSON 23751 Brownstown Square Avocca, MI 48006

Dr #204, Brownstown Twp, MI 48174

Plainti?’s attomey, bar no., address, and telephone no.
Plaintiffs in Proyoria Persona

Instructions: Cheeck the items below that apply to you and provide any required information. Submit this form fo the court clerk along with your complaint and,
if necessary, a casse inventory addendum (MC 21). The summons section will be completed by the court clerk.

Domestic Rel =ations Case

C1] There are n© pending or resolved cases within the jurisdiction of the family division of the circuit court involving the famity or
family mem ers of the person(s) who are the subject of the complaint. .

(There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving

the family oar family members of the person(s) who are the subject of the complaint. | have separately filed a completed
confidential «case inventory (MC 21) listing those cases.

Clit is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family ox family members of the person(s) who are the subject of the complaint

Civil Case

(This is a bussiness case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

[]MDHHS and a contracted health plan may have a right to recover expenses in this case. | certify that notice and a copy of
the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.1 06(4).

There is no. other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

CA civil action between these parties or other parties arising out of the transaction or occurrence alleged in the,

been previously filedin Cthis court, C1

it was givera case number and assigned to Judge

The action [Llremains Liisnolonger pending.

Summons sector: completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are beiimg sued. °
2. YOU HAVE. 21 DAYS after receiving this summons and a-copy of the complaint to file a written answer with the court

and serve =x copy on the other party or take other lawful action with the court (28 days if you were served by mail or you
were serve:cd outside of Michigan).

3. If you do nc»t answer or take other action within the time allowed, judgment may be entered against you for the relief
demanded mn the complaint.

A. If you requir-e accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate in court proceedings, please contact the court immeepately to make arrangements.
issue date TG oar Court clerk
U

MAY - 2203 1 0B

“This SUMMONS Is Invalid unless served on or before its expiration date. This document m:

Mco1 (3/23) SUMMONS
‘7

Wéieseal of the court.
G. FORLINI

Al
CR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
Case-_2:23-cv-13209-JICG-DRG--ECF-No-3;-Pagelb-20--Filed-12/15/23--Page-20 of 52>
STATE OF MICHIGAN
IN THE 16™ CIRCUIT COURT FOR MACOMB COUNTY
. CIVIL DIVISION
DERRICK LEE CARDELLO-SMITH #267009
PATRICIA LEE THOMPSON
_ Plaintiffs in Propria Persona
vs Case #2023- ODIY lolo-cK
Hon.
CARL I DIPIOLA-CARPENTER RICHARD L. CABETTI.
Defendant

COMPLAINT FOR BREACH OF CONTRACT |
& MONETARY DAMAGES AND JUDGEMENT

Now comes the Plaintiff, Derrick Lee Cardello-Smith #267009, and Co-Plaintiff Patricia
Lee Thompson in the above cause pursuant to MCL 600.5801-5807 seeking Judgement to be
entered against the Defendant CARLI DIPIOLA-CARPENTER FOR TOTAL COMPLETE
BREACH OF CONTRACT AND FAILURE TO PERFORM TERMS AGREED UPON IN
THE CONTRACTUAL AGREEMENT BETWEEN PLAINTIFE AND DEFENDANT.

DEMAND FOR JURY TRIAL
Plaintiff hereby demands a Jury Trial on the claims presented. This right is asserted
pursuant to the State Constitution.
JURISDICTIONAL STATEMENT
This Court has subject matter jurisdiction as the Plaintiff maintained a residence in

Macoxob County at least six (6) months prior to incarceration and filing of this action.

MANDATORY DISCLOSURE STATEMENT

This Plaintiff has filed 124 State and Federal civil cases and appeals and over 40 Federal
appeals under civil and criminal jurisdictions.

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“------—-Gase-2:23-cv-132090-JEG-DRE~ ECF No-t; PagelD-21~-Fited 12/15/23 Page 21 0f 52 --

DAMAGES SOUGHT

Plaintiff seeks monetary damages in the amount of Thirty Thousand Dollars ($30,000.00)

for Breach of Contract and completion of services and terms reached between Plaintiff and
Defendant Carli Dipiola-Carpenter.

TERMS OF CONTRACTUAL AGREEMENT

Plaintiff, Derrick Lee Cardello-Smith 267009, agreed to pay Defendant Carli Dipiola-
Carpenter the sum total of $5,000.00 at a rate of $500.00 per month for ten (10) months to cover
the Defendants living expenses, food, drug rehabilitation fees, family costs and transportation
costs in order for Defendant to be clean, sober, lucid and clear headed to appear for the civil

hearings and depositions and to provide the truth as to what really happened on October 12,
1997.

Defendant agreed to tell the truth that no assault ever took place regarding the 1997
Assault Case claims that Defendant lodged against Plaintiff. Defendant Carpenter failed to
perform her duties as detailed in the Contractual Agreement between both parties, and instead
used the $5,000.00 to support her own substance abuse habits of heroin, cocaine and other illicit

drugs resulting in the immediate loss of the $5,000.00 as well as other directly related costs of
$20,000.00.

The $20,000.00 was paid directly to David Mofitt and Associates because Defendant
Carpenter failed to perform her duties to tell the truth at other hearings resulting in the direct loss
by Plaintiff

The Defendant provided testimony in open court alleging serious assaults having taken
place upon her person by the Plaintiff in 1997 through 2021. This testimony and filings were
lodged in 2018, 2019, 2020 and 2021 at multiple hearings while the Defendant was under the —
influence of controlled substances that affected her testimony as to the truth of the matter. The»

" failure of the Defendant to preform her required contractual responsibilities resulted in
significant financial loss that the Defendant is responsible for under MCL 600.5807 requiring
this matter to be adjudicated in a Court of law.

The violation of the terms of Agreement are detailed in the supporting exhibit entitled —
“Plaintiffs Exhibit 1”.

A!
Case’ 2:23:cv-13209-JICG:DRG~ ECF No: 1; PagelD:22-Filed 12/15/23" Page 22 of 52

CONCLUSION

Defendant failed to adhere, complete, fulfill and meet the terms of the Contract, and in
doing so breached said Contract, resulting in significant monetary loss sustained by the Plaintiff
after the monies were received by the Defendant. The monies were paid from money left in the ©
hands of George Preston and the money which belonged to Plaintiff Derick Lee Cardello-Smith.
as George Preston oversees the Cardello-Smith estate and trust.

RELIEF REQUESTED

Wherefore Plaintiff prays this Court will enter Judgement in favor of the Plaintiff for

$30,000.00 for Breach of Contract and grant any other relief this Court deem necessary and
appropriate.

Respectfully submitted,

Derrick Lee Cardello-Smith 267009
Plaintiff

Tonia Maximum Correctional Facility ET
1576 W. Bluewater Hwy 2.
Ionia, MI 48846

AP =2 3 od Ai [904s
Date Date

IQ
Ease 2:23-Cv-t3209-JICG-DRG~ ECF No. 1, PagelD.23” Filed 12/15/23" “Pagé 23 of 52

Contractual Agreement

| have already contact George Preston rhany fimes over the past couple of
years, and he said that he wants me ip tell the truth about what happened that night in 1997 and
why | tesfified fo i agian in 2018 and 2019 and againt in 2022. agreed to #, ONLY IF | AM

money and then | will withdraw my false stafernent and tell the truth. a

| most certainly fied whert the Hearings fook place in 2019 and have. bed since
then when I said that I coul dnot "Appear in Person because my Son was Sick". That was not
frue, | just could not look you ih the eyes and te in court agamn.

TD you. while your Sal at Muskegon, okay. Hed about everything, so, send me the money
Cae yl the bth: Jast for proof f fod when | said [ have no criminal History, in fact, | do,
did fime at the address of B850 North Stony Drive, Unit # 204, W n, Mi 42094, So, that

A3
——Approved PAGED -2+23-=Cv-13209-JICG-DRG -ECF No- t- PagelD-24°~ Filed 12/1598 ~AtbothenPapP sig 5 9- ~~~
STATE OF MICHIGAN / CASE NO. .
JUDICIAL DISTRICT DEFAULT

16th JUDICIAL CIRCUIT REQUEST, AFFIDAVIT, ANDENTRY

2023-001466-CK

HON. RICHARD L CARETII
Court telephone no.

~16th Circuit Court-Macomb 40 North Main Street-ML Clemens, MI 48043

Court address

Plaintiff name(s). zaddress(es), and telephone no(s). Defendant name(s), address(es), and telephone no(s).
Derick Lee Cardeto-Smith, #267009 V Carl Dipiola-Carpenter
Probable Czause Conference Litigant | Defendants-in Pro Per
lonia Maxinneum Correctional Fackity 7541 Yale Road
1576 West "Bluewater Highway Avoca, Mi 48006
loréa, Ml 48-346
Plaintiff's attomey’, bar no., address, and telephone no. Defendant's atiomey, bar no., address, and telephone no.
SE] F-REPIRESENTED PRISONER PLAINTIFF PRO PER
JUN 1 9 9NA48
: “ZU
Party indefault __ CARU DIPIOLA-CARPENTER ANTHONY @ Eom
Macomb Coy STALIN,
nty Clerk

[REQUEST AND AFFIDAVIT |

1. |request the clerk to enter the default of the party named above for failure to plead or otherwise defend as provided by law.

2. The defautted party is not an infant or incompetent person.

3. CJ Itis unkcnown whether the defaulted party is in the military service. LiThe defaulted party is not in the military service.
(The defaulted party is in the military but there has been notice of pendency of the action and adequate time and opportunity
to appear and defend has been provided. Attached, as appropriate, is a waiver of rights and protections provided Under the
Service-members Civil Relief Act. Facts upon which this conclusion is based are: (specify)

_

A practi hit nd dle pnct he 7009

plicantAttomey signature : Bar no.
. ~<_ i .
Subscribed aand swom to before me on 5 Lune. 7 Zols__, —erthy <> County, Michigan.
afe . é

My commission expires: oat 4°27-29 signature AL, CVE SN
ate

Depa court Glerk/Notary publie

Notary public, State of Michigan, County of Eat, 4

. GUILLERMO A, SANTIAGO-DAMIS
NOTE: Default: can be entered by a district court | DEFAULT ENTRY | NOTARY PUBLIC, STATE GF Mi

clerk without time request of a party. COUNTY OF EATON:
: . . MY COMMISSION EXPIRES Feb 27, 2028
The default cof the party named above for failure to plead or otherwise defend is entered. ACTING IN COUNTY OF <7 org
: s+ = Foy
(5 -13- D5 Shans oe. Lae al

Date Court clerk

[CERTIFICATE OF MAILING |

mailaddressed

i certify that con this date copies of this default were served on the appropriate parties or their attorneys by first-cl

eAlides addresses as defined by MCR 2.107(C)(3). (aru | bsiloll
Date j

ignature

MC G7 (3/09) IOEFAULT REQUEST, AFFIDAVIT, AND ENTRY | MCL 32.517, MCL 600.2441, MCL 600.5759, MCR 2.603, 50 USC 521

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OCLVKE, puULUUL

tee Mase 2-2 3-cv-13209-JICG-DRG— ECE Nov 1, PayelD:25~ Filed 12/15/ 2a abragen@s Of B2-
Defendart

Approved, SCAO- : 2nd copy -
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT eT. 2073-001466-CK
Coumt address Court telephone no.
40 N. MAIN STREET, MT. CLEMENS, MI 48043 586-469-5351
Ptamniiff{s) / : Defendanifs)
DERRICK LEE CARDELLO-SMITH 267009 CARLI (BOIKE) DIPIOLA-CARPENTER,
Po ¥
Piingife/Ptainit!'s afiomey name, address, and telephone no. be] JUDGMENT
INPRO PER
1576 W. BLUEWATER HWY, IONIA, MI 48346 For. PLAINTIFF

Defeodants/Defondant’s atlomey name, address, and telephone no.

7541 YALE BD., AVOCA, MI48006 Cl without prejudice (With prejudice

jodgment shall not be entered except as provided by
the Sarvicomembers Cid Rafef Act.

ORDEROF NOTINCLIDING STATUTORY IN: 2
HOGMENTNOTS ST | ¢___satn00
Costs (fees: fing $175.00___ jury $0.00 motion $____ 9.00 service $______8.67

$0 qucteon2t) $ MEST
Atfomeyfee: Cl statutory LI other gspecity) s 0.00

FI The defendant shall pay the judgment in installment payments of S. each starfing
ey "unt the judgment is paid in full The plain shall nol issue a periodic garnishment as

ITIS ORDERED that this judgment is granted.

| [2] Approved as fo form, nofice of entry waived.
“This judgment resolves the last pending claim and closes the case indess checked here]

: Barna.

Jodexténthas beer one ean be final unless new trial oran appealis fled within 21 days afferthe judgment date
., [STATUTORYINTEREST| Te
sre feeqort erst occa fom te tng ihe TD ETETEES and fs based on:
(if addilional rales apply, alfach a separaie sheet)
Ll the stabutory rateof ____ from _. to .
(the statutory 6-month rata(s}of ___% from to and
% from to .
| CERTIFICATE OF MALLING | | certify that cn this date I served a copy of this judgment on the parbes or ary s by
first-class mas addressed to their festioxown addresses as defi 2107T(CYS)-
* ~o
19 |9093 0 SV oe,
Date | | Signekra oN
MCL 600.2441, MCL 600.5753, MCL 600.5013, MCL 600.8375, MGR 2601,
wcis Gite) JUDGMENT, CIVIL MCR2602, MCR Z.605, SD USC App 521

Vourty OF OL Ua;

Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.26 Filed 12/15/23 Page 26 of 52
AFFIDAVIT OF GEORGE PRESTON

Please be advised, that | swear and declare that tha Person of CARL! CARPENTER
did in fact reside in my home and at my property on and off between the times of 2021 through
2023 where Carli Carpenter stayed hare periodically and resided here and received mail here at
my residence stating because she was CLEANING HERSELF UP and getting Sober and
staying away from her Husband because he did not help her get off drugs and alcohol and she |
drave out to my place for quite awhile and she needed a place fo crash and so, she stayed with
me here andMaintain 2 residences—1 was her regular home with her family at 5615 Fairgrove .
Road-Fairgrove,Michigan 48733 and the other place was here with me at 7541 Yale Road,
AVoca, MI 48006. This was done for on and off times and she received mail here at this
address and she received documents here and they were kept in my place unti she left...She-
fas a key to my horne and it was done for her getting cleaned up and resolving what she did in.
past. :

| will aftest to these events if the Court requires it as thaf they are true, real and
accurate and they happened.

Thank you for your finte.

Lng (TF tec — Date (C/G L2 ZB

George Preston

12 / 13/2 3

SARAH L ARMSTRONG
Notary Public - State of Michigan
County of St Clair

: My Commission Expires Har 3, 2029
Acting in the County of hE Dh

AG
ooo Case 2:23-ev-13209-JICG-DRG ECF No: t;PagelD:27--Filed'12/15/23 Page 27 of 52

INDIVIDUAL ACKNOWLEDGMENT

RR Pa ee etn eee ee

sse/Conmoquestn of Mi chia Alt -
County of \aint Mo nip *

On this the [are day of Nedobee Ws , before me,

Month Year

Savo L. Ammstiony
Name of ne, 0 Public
personally appeared Quvpe P res he

Name(s) of Signer(s)

, the undersigned Notary Public,

QO) personally known to me ~ OR —

proved to me on the basis of satisfactory evidence
to be the person(s} whose name(s) is/are subscribed
to the within instrument, and acknowledged to me

that he/she/they executed the same for the purposes
therein stated.

y hand and official seal.

SARAH L ARMSTRONG |
Notary Public - State of Michigan
County of St Clair

My Commission Expires Mar 3, 2029 : yh IF Notary Public
Acting in the County of A d

eyo 3/2 /a03-4

Any Other Required Information
Place Notary Seai/Stamp Above (Printed Name of Notary, Expiration Date, etc.)

OPTIONAL

This section is required for notarizations performed in Arizona but is optional in other states.
Completing this information can deter alteration of the document or fraudulent reattachment
of this form to an unintended document.

Description of Attached Document . '
pel dee
Title or Type of Document: be dam L i. he § l

Document Date: LD + 1 24 Number of Pages: |

Signer(s) Other Than Named Above: None

©2023 National Notary Association

M1304-07 (09/23)
Used for states (AL, AZ, CO, CT, DE, GA, IA, ID, IL, IN, K
MS, MT, NC, ND, NE, NH, NJ, NM, OK, OR, RI, SC, SD, T

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GASES FMC ICORIRG ECE Nit GuEHOrO Pilcdee/i5/23] Page casima.
NV

THIRD JUDICIAL CIRCUIT CONVICTION AND SENTENCE 19-000756-01-FC
WAYNE COUNTY |
ORI MI- 821095)  CourtAddress 14d1 St. Antoine, Detroit MI 48226 Courtroom 401 Court Telephone No. 313-224-2481
THE PEOPLE OF THE STATE OF MICHIGAN vs. Derrick Lee Smith
. - Defendant

| rita session of the courton _ 04/18/2019 before the Hon. Bridget Mary Hathaway

Sturge of the court, the defendant was convicted by: CJ Jury C1] Bench Plea (NOLO)

oe

eae offenses(s) PACC code(s)

a
1 esc 1" degree | 750,520B

oA
2CBSC 1* degree 750.520B

Ss
34 ESC 1" degree 750.520B
4FESC 1 degree 750.520B

=

Hat 3rd 769.11 FILED

Do CATHY M. GARRETT

= WAYNE COUNTY CLERK
2. The defendant was in court for sentence on 05/02/19 and was sentanced by i tha,

Ics, -

Probation, for a term of years. (see separate probation girder)

Michigan Department of Corrections, confined for a term of not less than nor more than

Hd,

ct. |: 17 years 6 mths - 35 years MDOC: ct. 2: 17 years 6 mths - 35 years MDOC; ct. 3:_17 years 6mths - 35 years Moc

et. 4: 17 years 6 mths - 35 years MDOC years.
The maximum statutory penalty for the crime(s) of which said defendant stands convicted Is years.
Jail confinement for days/months.

The conviction is reportable to the Secretary of State under MCL257.732 or 281.1040.

The defendant's drivers /icense number is

ROUTED Op pir SO FL4,

910006100 SV OF &0090 ON

Attorney Fees $ hy LX) Court Costs _$ }2s ( \. 5 Restitution $ DNA Fee $

cBrime Victims —$ 130.00 State Minimum Costs 272.00 Supervision Fee $
[7 HIV testing was ordered on

The defendant was represented by ATTORNEY _Clifford Woodards BAR NO _ 60661

and is to be given credit for 113 days served in JAIL

SAID CREDIT TO BE APPLIED TO MINIMUM AND MAXIMUM SENTENCE.
76409 _

RECOMMENDATION all counts to nin concurrent; concurrent with present MDOC sentence _- ery OF FLAN ER
7

Honoyabit-” Blidget MaryJHathdway

1007-3CC (08/2007) ORDER OF CONVICTION AND SENTENCE

ZS
opy— Mi
"4 4" copy — Defendant

oon "Case 2:28-ov-18209-I9C RED RG ECF Ken ptes” Filed 128/73 i RQOCRR Exe

I “4y- Corrections

Approved, SCAO Original — Court 2™ cvopy- Corrections (for return) 5" cony - Prosecutor
STATE OF MICHIGAN JUDGMENT OF SENTENCE CASE NO.
THIRD JUDICIAL CIRCUIT COMMITMENT TO DEPARTMENT OF CORRECTIONS | 19-000756-01-FC
WAYNE COUNTY _ [ff Amended .
ORI MI - 821095J Court Address 1441 St. Antoine, Detroit, MI 48226 Courtroom 401 Court Telephone No. 313-224-2481
Police Report No. :
WI Defendant name, address, and telephone no.
Pa Vv | Derrick Lee Smith
. E PEOPLE OF THE STATE OF MICHIGAN Alias(es) -
= 2400 S Sheridan Dr Muskegon, MI 49442
i
= CTN/TCN SID DOB
— 18722163-01 11/01/1972
Prosediting attorney name Bar no. Defendant attorney name Bar no.
DeySnaUnis 81361 Clifford Woodards 60661
TS FINDS:
LT fendant was found guilty on 04/18/2019 of the crime(s) stated below: :
= CONVICTED BY DISMISSED CHARGE CODE (S
- BY* CRIME MCL citation/PACC Code
Couns Pleas* | Court | Jury
1) ™<S NC CSC 15" DEGREE 750.5
2 ¢ NC CSC 1°! DEGREE 75@2
3 =~ NC CSC 1" DEGREE 75@520.
4 Tro NC CSC 1°" DEGREE 75(@S208~, a
oC HAB. 39 76

prmeennr,
*Insec4G" for guilty plea, "NC" for nolo contendere, or "MI" for guilty but mentally ill, "D" for dis
dismissed by prosecutor/plaintiff.
C) ©3,s0he conviction is reportable to the Secretary of State under MCL 257.625(21)(b).
(1) SSoHIV testing and sex offender registration are completed.
he defendant has been fingerprinted according to MCL 28.243,
CA DNA sample is already on file with the Michigan State Police from a

revious case, No assessment is required.
IT ESRDERED:

URGE

ts driver license riimber

Defendar

(1 ~8rProbation is revoked.
eran in a special alternative incarceration unit is C1 prohibited. ((] permitted.
8.D ant is sentenced to custody of Michigan Department of Corrections. This sentence shall be executed immediately.
Coun ENTENCE MINIMUM MAXIMUM DATE SENTENCE JAIL CREDIT OTHER
he DATE BEGINS INFORMATION
e Years Mos. Days Years Mos. Days Mos. Days :
i §/02/2019 17 6 35 05/02/2019 113
2 © [2ysvo2/2019_ | 17 6 35 05/02/2019 113
3 PQ) 5/02/2019 17 6 35 05/02/2019 113
4 pef95/02/2019 17 6 35 05/02/2019 113
C] S Sehtence(s) to be served consecutively to: (if this item is not checked, the sentence is concurrent)
each other. ([] case numbers
1)—fhe Defendant shall pay:
States Crime Restitution | DNA Court Costs | Attorney Fees | Fine Other Costs | Total
Mins Victim Assess. .
$ 68 O62 4 $130.00 | $ $ $ 1,300.00 | $ 400.00 $ $ $ 2,102.00
e date for payment is "Fine, costs, and fees not paid within 56 days of the due date
ara subject to a 20% late penalty on the amount owed.
ItoaThe concealed weapon board shall [] suspendfor [-] days (permanently revoke the concealed weapon

' license, permit number issued b County,
wis Pp Y ounty

The defendant is subject to lifetime monitoring pursuant to MCL 750.520n.
13. Court recommendation: All counts to run concurrent; Sentence to run concurrent with present MDOC sentence; Sex
05/02/2019

76409

Offender Registry under SORA Kh
/
Date jathaway Bar no.

2g on. BridgetMary
I certify that this is a correct and complete abstract from the diab (fo records: The sheriff shall, without needless delay, deliver
defendant to the Michigan Department of Corrections at a place de ighated by the department.

———< s oo
eS vo -
Deputy court clerk cS

MCL 765.15(2), MCL 769.1k, MCL 769.16a, MCL 775.22,
C0219h-300 — (6/15) IUNGMENT OF SENTENCE. COMMITMENT TO NEPARTMENT AF CORRECTIONS MCL 780.766 MCR 6.427,

(SEAL)

~~ CQge 2:23:cv-13209:JICG-DRG~ ECF No: 1, PagelD.30 *Fited 12/15/23--Page 30 0f 52> <->

KYM L. WORTHY COUNTY OF WAYNE : 1200 FRANK MURPHY HALL OF JUSTICE

PROSECUTING ATTORNEY OFFICE OF THE PROSECUTING DETROIT MICHIGAN 48226-2302
ATTORNEY
: TEL: (313) 224-5777
DARYL CARSON DETROIT, MICHIGAN FAX. (13) 224-0974

November 6, 2023

Derrick Lee Smith

MDOC #267009

Ionia Correctional Facility
1576 W. Bluewater Highway
Ionia, MI 48846

Dear Mr. Smith:

I write in response to your letter received October 29. I understand your claim. Given that you
paid Miss Carpenter, anything she said in Macomb County Circuit Court does not change the
analysis enough to recommend to the Prosecutor that you are factually innocent. This case has
too much going on to have any confidence in a recantation from Miss Carpenter.

However, given your allegations of police misconduct, | forwarded your materials to our Public
Integrity Unit.

Your case remains closed in this unit.

Sincerely,

s/ ven |
Valerie Newman
Deputy Chief and :
Director of Conviction Integrity Unit
—Case-2:23-6v-13209-JICG-DRG EGR:MoriaRagew21_ Filed 12/15/23 Page 210152

DEPARTMENT OF ATTORNEY GENERAL

CADILLAC PLACE

3030 WEST GRAND BOULEVARD
SUITE 10-200

DETROIT, MI 48202

ATTORNEY GENERAL —__

November 20, 2023

Derrick Lee Smith, MDOC# 267009
Jonia Correctional Facility

1576 W. Bluewater Highway

Ionia, MI 48846

Dear Mr. Smith:

The Conviction Integrity Unit (CIU) has received your letter. It appears from
your letter that you are asking for help with a conviction that occurred in Wayne
County. The Wayne County Prosecutor’s Office has an independent Conviction
Integrity Unit. If you have not already reached out to their office, please write to
—...... . them atthe following address;

Valerie Newman

Conviction Integrity Unit

Wayne County Prosecutor’s Office
Frank Murphy Hall of Justice
1441 St. Antoine

Detroit, MI 48226

I have full confidence in Ms. Newman and her staff. I know they will do their
best to assist you. If you have already contacted the Wayne County Conviction
Integrity Unit, there is no need to contact them again. Unfortunately, your file.is _
closed in our office.. We wish you the best of luck.

Sincerely,

Robyn B. Frankel
Assistant Attorney General
Director ~ Conviction Integrity Unit

AG CIU Letter Referring Matter to Wayne County (Smith) 2023.11.20

i _. DANA-NESSEL- i
~ Case 2:23-cv-13209-JJCG-DRGE—ECF No: + PagelD:32-Fited 12/15/23 Page 32 Of 52

KYM L. WORTHY . . COUNTY OF WAYNE . 1200 FRANK MURPHY HALL OF JUSTICE

PROSECUTING ATTORNEY OFFICE OF THE PROSECUTING De MROEIGAR AeD26-2302
ATTORNEY
TEL: (313) 224-5797
DARYL CARSON DETROIT, MICHIGAN FAX: (313) 224-0974
November 21, 2023
Derrick Lee Smith
MDOC #267009

Ionia Correctional Facility
1576 W. Bluewater Highway
__ .. Jonia, MI 48846... 2... ne cent een ee ee we ett ee need tte eee

Dear Mr. Smith:

I write in response to your letter received November 15. | do not disagree with your assessment.
Therefore, I forwarded your prior letter and will forward this one to the Public Integrity Unit. If
that unit determines to undertake an investigation, then they have the power to recommend to the
Prosecutor that relief be granted if warranted.

Sincerely,
Is| Uith

Valerie Newman
Deputy Chief and
Director of Conviction Integrity Unit

SZ
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.33 Filed 12/15/23 Page 33 of 52

UNIT

leu SEX CRIMES UNITES

Records Section

in 1997 Derrick Lee Cardello-Smith, Entered the Jackson Prison System for the Charge
of Second-Degree Murder, and it is reflected in Homicide Report 1997-081 1306.1 and in fact —
Derrick Lee Cardello-Smith is NOT THE SUSPECT, NOT THE PERPETRATOR, NOR THE
PERSON WHO COMMITTED ANY RAPES, NOR ANY SEXUAL ASSAULTS AGAINST ANY
FEMALE VICTIM IDENTIFIED, INVESTIGATED OR LISTED IN THE JURISDICTION OF:
THE DETROIT POLICE DEPARTMENT and in fact, The persons named as John Smith and,
Derek Lee Smith have listed their Individual alias and AKA's as Derrick Lee Cardello-Smith and
in fact, Derrick Lee Cardello-Smith did not commit any sexually offense and was and ig
excluded from any sexual offense or reports of sexual encounters by any persons during any:
time frame of any residency in the City of Detroit, or In Any County in the State of Michigan and
Any Reports, Docurnents or Others that list, site, discuss, contain, or have the Name af
Civilan DERRICK LEE CARDELLO-SMITH in it during the time frames of 1992-1998, are in
fact, FALSE REPORTS, FALSE STATEMENTS and Should Exclude Mr. Derrick Lee
Cardello-Smith as that the reports are from a Deliberate, Intentional Group of Men and Wamen
Who reside or have resided in the City of Detroit, Counties of Macomb, Oakland and Wayne
and have in fact Fed Faise Charges of Rape against Multiple Persons and Parties of interest
to Extort money from the Unsuspecting Men and in fact were part of the RICO Units Targeted
by the Internal Affairs Bureau of the Detroit Police Department, and in fact, 13 Women have

These Said False Rane Charges by various women who have si General Templates
Reports Circulated by Former Detroit Police Officers who have been convicted of extortion,
abuse of power and other crimes. The named persons and parties who were paid by the

Police Reports are in fact listed on the accompanying report attachment, as that the charges

are false, the reports have to be redacted and voided from the Law Enforcement Information

Network to Ensure that Derrick Lee Cardellio-Smith is not listed as a Sex Offender in the

MDOC or any other Public Record. Derrick Lee Cardelio-Smith is not a Sex Offender and the

Internal Docurcents Must Follow Firm to the MOOG ond nat ing nearest oe
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L. Kan (5189

~~ Case 2:23-cv-13209-JJCG-DRG ~~ ECF No-1,-PagelD.34---Filed-12/15/23-- Page-34-of 52~

%',.,. HOMICIDE REPORT
police AMENDED

REPORTING AGENCY: DETROIT POLICE DEPARTMENT
CASE REPORT NUMBER: 0811306.1

REPORTED ON JULY 24, 1997 00:45AM OCCURRED ON JULY 8, 1997
AT EAST 8 MILE & VAN DYKE ROADS-DETROIT, MI SCA/10:09PM SECTOR A 9TH

OFFENSE: HOMICIDE-SPECIAL CIRCUMSTANCES-MURDER: OFFENSE IS A REGISTERED SELF ~
DEFENSE EXPERT WITH TRAINING IN MARTIAL ARTS 7 HAND-TO-HAND AT-~OFFENSE
HIGHTENED--BY INTENTIONAL OVERKILL & INTENTIONAL OVERUSE OF DEFENSE TACTICS—
OFFENDER KNEW THAT THE 3 ATTACKERS WERE CIVILIANS & NOT TRAINED COMBATANTS

47. ARRESTEE: DERRICK LEE CARDELLO-SMITH: AGE: 24SEXMALE: RACE: BLACK-ITALIAN-MEX~
ADDRESS : WME MEMME-DETROIT, MI 48205-26--Phone S-SEn-_Beam
HOMICIDE VICTIM/ATTACKER: CARL BISHOP:AGE 47:SEX:MALE-RACE:CAUCASIAN/WHITE- No
Relationship to Suspect/Offender--
3.ASSAULT VICTIM/ATTACKER: ROBERT GUNTER :AGE:53:SEX:MALE-RACE: CAUCASIAN/WHITE-
No Relationship to Suspect/Offender
4.ASSAULT VICTIM/ATTACKER:DAVID BROCK: AGE:$%$:SEX:MALE-RACE: CAUCASIAN/WHITE-
No Relationship to Suspect/Offender
OFFENDER DESCRIPTION: On or About July .7/8, 1997, Suspect DERRICK LEE
CARDELLO-SMITH, Age 24, and His Female Companion  SEmEmem age 20, were
leaving the AMC Movie Theater on 8 Mile & Van Dyke Roads in Detroit, MI when
the 2 were approached by Three Strangers known now as the above Three Named
Victim/Attackers. The deceased Victim CARL BISHOP and his 2 friends were
leaving a Tavern/Bar Adjacent to the Theater when they came upon Derrick Lee
Cardello-Smith and his Girlfriend heading to their Car (1997 Chevy Camaro Z-
28) and as they passed by the 3 Victims/Attackers, Comments were made about
the pair being an “Interacial-Couple™ and words were exchanged-~An argument
ensued between all Men with the Leader, Carl Bishop becoming enraged that the
Suspect was with a "Woman of the Opposite Race!" hat she is White and Needs
to ‘Stay within Her own Race". The Trio them Started Yelling to Offender
Cardello-Smith that "O.J. KILLED HIS WOMAN, so Will this Nigger Your With!"
Offender Cardello-Smith was attempting to keep the matter from
getting more aggressive, when, according to Witnesses and bystanders, two of
the three men started fighting Cardello-Smith, who saw the Third Mail, Carl
Bishop was physically attacking his Girlfriend by slapping her with his Hand
to face contact, and calling her a "Nigger-Lover“ and “Race Traitor!"
Cardello-Smith was still Engaged with Gunter & Brock when his
Girlfriend yelled out, “Derrick Help!", Derrick then saw her and saw that the
(Decedent) Carl Bishop had in fact Brandished a Sharp Edged Weapon and/or
Knife and was about to Stab his Girlfriend while the Other 2 Men were keeping
Derrick Busy and they were Laughing, and then, According to Witnesses,
Cardello-Smith broke Gunter's Arm, Broke the Leg of Brock, immobilizing them
both and Cardello-Smith then Ran & Intercepted the knife by Placing His Own
Arm in between the Blade of the Weapon and His Companions Body/Upper torso,
the Knife then Penetrated Cardello-Smith's Right Forearm and Cardello-Smith
grabbed Carl Bishop's Wrist Pulling the Knife out and Forced it into the
Lungs of the remaining Victim/Attacker Carl Bishop. Offender Cardello-Smith
was then heard saying “You were going to Stab my Date! Now Your Going to Die
in a Filthy Parking Lot, You should have Just Let us Be!" "Die Where You Are
You Racist Bitch!" Cardello-Smith then went to his Companion who was Shaken.
Derrick then Went to the Other 2 Pair that were already
immobilized and proceeded to Kick them and Fracture other parts of their
bodies until he was Subdued by Officers who arrived on Scene--The Victim Carl
Bishop was taken to Emergency Triage at St. Johns Hospital where he Succumbed
to his Injuries 2 Weeks later--Cardello-Smith was then taken into Custody for
Open Murder.
Arrestee transported to 9th Precinct for Holding/Charging
Purposes review by Detective Jose’ Ortiz and Sgt. David Cobb.

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Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.35 Filed 12/15/23 Page 35 of 52

PEOPLE OF THE STATE OF MICHIGAN | ck Sarr
VS- ,
DERRICK LEE CARDELLO-SMITH
MDOC #267009

WAYNE COUNTY CIRCUIT COURT DESCRIPTION OF
THE OFFENSE & SENTENCING INFORMATION FOR
PLACEMENT ON PUBLIC INFORMATION SYSTEM &

STATE PRISON INFORMATION SYSTEM IN FULL
COMPLIANCE WITH SETTLEMENT AGREMENT OF
MAY 2, 2019 REGARDING THE CORRECTED AND
UPDATED RELEASE DATE & INFORMATION FOR

“MR. DERRICK LEE CARDELLO-SMIT } #267009
CASE NO'S 1997-010147-01-FC-2008-008633-01-C-
RESOLVED IN THE SETTLEMENT AGREEMENT OF
2019-000756-01-FC ON MAY 3, 2019 IN DETREI, i

NEW RELEASE DATE OF AUGUST 18, 2026

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Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.36 Filed 12/15/23 Page 36 of 52

[ Court Name (Last, First, Middle) MDOC Nbr. Given Name(Last, First, Middle)
Smith, Derrick Lee 267009 Same
Name Type Other Names (Last, First, Middle)
Alias “fo SMITH, DERRICK LEE
Court/Commitment Name
Place of Birth Citizenship _ [Last Known Address & Telephone No.
{Michigan ’ USA
State& DLN None. DOB 11/01/1972 — , ‘
SID No. 1504755E FBI No. 498829LA9 ts \
Race , Sex Hair ‘\Byes
Black or African American Male Black Brown
Height [Weight /Highest Grade Completed Occupation : Health Ins. ts-$1,500 & Up |Monthly Income of $75 &.Up
10" 5180 None No oa No.
Marital Status Dependents Religion Military Branch Military Dates Discharge Type
et 0 Catholic Amy 1972-1991 Medical .
Drug Alcohol Mental Health
Marks, Scars, Amputations, Tattoos Abuse Abuse Treatment
eae Right Upper Amm Tattoo Left Arm Scar Right Forearm No No No
CRIMINAL AISTORY FIiteD
Juvenile . Adult Status at Time of Offense a ‘
Comm. | Prob. Esc. Jail Pris. Prob. Esc. X |None Delayed Sentence
0 1 0 3 1 2 0 . HYTA Parole MAY 3 119
Age of First Arrest Offense Convictions SAL Eligible Probation ' Jail 4
. District Probation |. {State Prison
Pending Charges in Court No. of Prior Felony Convictions : Federal Probation On Bond
No - |2 , Federal Parole . Niveniie Court supervision
Type of Report | County Wayne County Agent & Caseload No. ,
ene DOC Recommended Disposition & [Probation Violation New Sentence No |Probation Violation Technical No
CURRENT OFFENSE
NO. 1. OF 4 Docket No.: Charge (1): 19000756-01-FC Last Name: Smith
PACC Code Offense Max Consecutive Sentence |
750.520B Criminal Sexual Conduct, lst Deg (Hab Crim 3rd Off. ) No °
Victim / Relationship Codefendant(s)
Boike, Carli - No Relationship . None
Circuit Judge .. Attorney Retained / Avoniuted
03rd Circuit Court - Wayne County Bridget Mary Hathaway _
Method of Conviction Date of Offense Date of Arrest Date of Bond Date of Conviction Jail Credit Guilty But Mentally Dl
Nolo Contendere 10/12/1997 01/09/2019 01/09/2019 04/18/2019 113 No
DISPOSITION
Sentence Type Sentence Date |CTIN Fine Cost Restitution
821872216301 : .
MINIMUM MAXIMUM LIFE JAIL Supervision Fees Crime Victims Assessment
Years | Months | Days Years | Months] Days Months | Days *
| Fees Forensic Fees Restitution Fund Fees Other Fees
Sentencing Guidelines
. RANGE LIFE NA Prior Record Total | Offense Variable Total
Low: 240 | High: 480 65 | 100
Comments:

Smaith, Derrick Lee - 267009

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Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.37

Filed 12/15/23

Page 37 of 52

CURRENT OFFENSE
NO. 2 OF 4 Docket No.: Charge (2): 19000756-01-FC Last Name: Smith
PACC Code Offense Max Consecutive Sentence
750.520B Criminal Sexual Conduct, Ist Deg (Hab Crim 3rd Off) LIFE No
Victim / Relationship : Codefendant(s)
Boike, Carli - No Relationship None
Circuit Judge . Attorne . Retained / Appointed
03rd Circuit Court - Wayne County — Bridget Mary Hathaway 5 enn
Method of Conviction Date of Offense Date of Arrest Date of Bond Date of Conviction Jail Creqit Guilty But Mentally I)
Nolo Contendere 10/12/1997 01/09/2019 01/09/2019 04/18/2019 133, No
DISPOSITION
Sentence Type Sentence Date i|CTN Fine Cost Restitution
821872216301
MINIMUM MAXIMUM LIFE JAIL Supervision Fees Crime Victims Assessment
Years | Months] Days Years | Months | Days Months | Days
Attorney Fees Forensic Fees Restitution Fund Fees
Sentencing Guidelines
RANGE LIFE NA Prior Record Total
Low: High: x
Comments:
CURRENT OFFENSE
NO. 3 OF 4 Docket No.: Charge (3): 19000756-01-FC Last Name: Smith
|PACC Code™ Offense Max Consecutive Sentence
750.520B Criminal Sexual Conduct, 1st Deg (Hab Crim 3rd Off.) mr No
Victim / Relationship Codefendant(s)
Boike, Carli - No Relationship None
Circuit Judge . Attorney Retained / Appointed
03rd Circuit Court - Wayne Coutity Bridget Mary Hathaway
Method of Conviction Date of Offense Date of Arrest Date of Bond Date of Conviction Jail Credit Guilty But Mentally Il
Nolo Contendere 10/12/1997 01/09/2019 01/09/2019 04/18/2019 113 No :
DISPOSITION.
Sentence Type Sentence Date |CTN — Fine Cost Restitution
. . 821872216301
MINIMUM MAXIMUM LIFE . JAIL Supervision Fees Crime Victims Assessment
Years | Months] Days Years | Months] Days Months | Days
Attorney Fees Forensic Fees 4 Restitution Fund Fees Other Fees
Sentenciag Guidelines
RANGE LIFE NA Prior Record Total | Offense Variable Total
| Low: | High: xX
Comamenis:
CURRENT OFFENSE
NO. 4 OF 4 Docket No.: Charge (4): 19000756-01-FC Last Name: Smith
PACC Code Offense Max Consecutive Sentence
750 .520B Criminal Sexual Conduct, Ist Deg (Hab Crim 3rd Off.) No

Smith, Derrick Lee - 267009
05/02/2019 10:57:24

S/
Case 2:23-cv- -
3-cv-13209-JJICG-DRG ECF No. 1, PagelD.38” Filed 12/15/23 Page 38 of 52

The following information was garnered from the Wayne County Prosecutor's Office "Criminal Investigation
Division’ s Investigator's Reports dated October 22, 2018, and.updated May 2, 2019, peritiew plea and settlement
agreement with the Defendant, Complainant, Wayne County Prosecutor's Office, atid Michigan Attomey
General’s Office. This information and report stays in the electronic and paper file -- hard copy ved by any MDOC
or other official per settlement apreement between all parties involved in the case, effective on May 2, 2019.

This case has noultiple layers to it, and it involves separate incidents which are: Second Degree Murder - - With
Special Circumstances - - Self-Defense. .

The criminal sexual conduct is a different case and is not related to each other for scoring and sentencing purposes.
Fil PD
On July 8, 1997, Defendant Derrick Lee Cardello-Smith and his female companion, CATHY MYGARRAETE
a movie theatre when they were approached by the now deceased victim, Cari Bishop, Jan AHRENS BAN TcrlsLehis
were exiting a tavern on 8 Mile and Van Dyke in Detroit, MI. When they came updn Defe Ate Lee
Cardello-Smith and his female companion who were leaving a movie theatre when. peta S tro S$ mith
and his girlfriend bumped into each other at the comer of the parking lot and building - an argument ensued with
the three men becoming enraged that the Defendant was with a woman. of the opposite race (Catieas rarer aes
started yelling obscenities to the Defendant and his companion. Defendant was attempting to keep the matter from
getting more aggres sive, when according to witnesses, two of the men started fighting with Defendant Cardello-
Smith, who then saw that his female companion was being attacked physically by one assailant, Carl Bishop
(decedent). Cardello-Smith injured two of the men he was fighting, then ran over to the decedent, Carl Bishop
who had pulled a knife on the female companion and was going to assault her with the knife. Defendant caught
the decedent by his wrist and while they were grappling, Cardello-Smith then fell on top of the victim Carl Bishop,
and the weapon had penetrated the assailant’ s/decedent’s lungs. Defendant then was heard saying “Now you're
going to die in a filthy parking lot with your own weapon. in your chest” - - the victim was rushed to Emergency
Care at St. Johns Hospital where he was kept in intensive care for two weeks, before he succumbing to his injuries.
Two weeks later Cardello-Smith was taken into custody for 2nd Degree Murder and was sentenced to Parolable
Life.

While in custody, and while representing himself, Defendant obtained an Appeal. Defendant then entered a Plea
of No-Contest to a number of years and was given a new conviction from a sexual assault case that occurred in
January 2008, while the Appellant was out on. bond pending his original appeal.
Case 2:23-cv-13 -
209-JJCG-DRG ECF No. 1, PagelD.39 Filed 12/15/23 Page 39 of 52

See police report for full description of the crime as required by new settlement as to the sex crime, which
Appellant successfully appealed in January 9019. Defendant is now before this court to be resentenced and has
in fact taken a No-Contest Plea for the vacating and dismissal of six (6) counts of Criminal Sexual Conduct, 1*
Degree (Adult), and two (2) counts of Kidnapping in January 2008. Please see Supplemental Incident report from
the Detroit Police Department.

The terms of the sentence and new agreement are, twenty-five (25) years to thirty-five (35) years, no habitual,
and a full dismissal of the Criminal Sexual Conduct Charges with the active sentence being second-degree murder.
This new sentence takes effect upon the signing of the final Cobbs evaluation and all parties agreeing. Therefore,
OTIS (Offender Tracking Information System) will reflect the criminal sexual conduct until the case is resolved-
per the agreement between all parties.

FILED

The new sentence is the active sentence and will take active sentence status in 2096, CATE M cE vil
remain in the file record until court approved. . MAY 3 1
2019

Any party or agency removing this from the file will be subject to liability as agrege upon in the settlement and
stipulation between all parties.

Defendant currently will receive a wrongful conviction settlement at $50,000.00 for each year on the Counts of
Criminal Sexual Conduct upon final settlement for the 1997 and 2008 cases per agreement. not subject to
forfeiture by the State Correction’s Reimbursement Act per the agreed upon amount already paid to the STATE
OF MICHIGAN (agreement not provided per privacy laws) - - Three Million, Six-Hundred thousand, dollar
settlement will be released to Defendant upon the final resolution of the criminal sexual conduct case, which is
currently under review by the parties of Wayne County Prosecutor's Office, Michigan Attorney General’s Office,
and the Defendant, upon release from the custody of the Michigan Department of Corrections, or an heir or spouse

is named by defendant

Sexual Offense Encounter Description

The following information was garnered from the Wayne County Prosecutor's Office Criminal Investigations
Division Investigator's Report, dated 10/22/18:

On 10/12/97, Carli Boile reported to Detroit Police Officers she was sexually assaulted. She stated she had stopped
at Shell Gas Station near 8 Mile and Schoenherr in the City of Detroit. As she was waiting to pull out into traffic,
an unknown male jumped into her car and forced her to drive to an unknown location. Once there, he forced her
into the backseat and sexually assaulted her. She stated she got off work at the Club between 2:30 and 3:30 am.

BF
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.40 Filed 12/15/23 Page 40 of 52

A guy walked by and asked if she could give him a ride home and said he just got out of jail. She told him, "no",
and went into the Shell Gas Station at 9 Mile and Regent. After getting gas, she was about to light a cigarette
while waiting to pull out of the parking lot. The same guy got into her vehicle and told her to drive. She told him
to get out, and he told her to shut up and drive. and said his mom lives on Carlisle and to take him there. While
driving he told her, "oh yeah, He told her to take him to a friend's house and was giving her
directions that took them to an alley. The last street she recalled seeing was Alcoy. He said he was waiting for his
friend to get home. He told her to turn the car off and it was a bad neighborhood, so she does not want to wake
anyone up. About 15 minutes later, she told him he was going to have to wait by himself and she was leaving.
She went to turn the car on and the keys were gone. She did not notice the defendant had taken them. She asked
of the keys and he told her no. She promised not to star the car and he gave her the keys. He started getting closer
to her. Carli said she grabbed her mace and he did not notice. He locked the Coors <jjildssttbidadiidelddidintéistdmiahbimicaald
her they were going to have sex, and he had not had sex in years because he was in § eh Crake
say, "lets' get a hotel room or something, “and he began pulling her pants down and ghe t IMCs RI
are going to have sex right here and right now." He pulled her pants down and told hér to pul af off. She
told him, "no", and he pulled her shirt over her head. She kept fighting him and he s§w the MAY: ‘

asked what it is. She told him it was nothing and tried to hide it underneath her. Hq rolled her over, saw it, and
then threw it in the front seat. He told her she could mace him, fight with lim, butt Reclaisdiafjeijpa@elhiéatiltielcenbidiaisa

stop him and he could kill her right there. He put his penis inside of her vagina. He attempted to force his penis
in her mouth. After the assault, he had her drive him to the gas station, He left when another patron started paying
attention to Carli. She said she was speaking very loudly trying to get him out of her vehicle. She described him

as black or Puerto Rican, and indicated he had long hair tied back in a ponytail.

A group founded by the National Institute of Justice was formed to address the issue of sexual assault kits that
were not tested in Detroit. This kit was tested in 2015, and the DNA obtained from the kit matched the defendant's.

On 10/11/2018, the victim was re-interviewed and stated she was working at Player Night Club and went to the
gas station after work to get gas. She recalled the same circumstances as to how he got into her car. She added
once he got in the car she said, "what do you need, you can go get drugs. He said, "Yeah, drive me there and I
can go get drugs," I can't remember the street. He had me pull in the ally end and stopped and there was a house
kitty corner with a light on. He said we gotta wait. I started to believe that once he got out, I'd be able to get away.

Marital Update

The Defendant is a single widowed male. His wife passed away from natural causes. His son passed away in a
traffic accident while on his way to visit the Defendant in 2010 due to a Drunk Driver. Defendant has a son-In-
law named James Preston and a daughter who resides in France named Bridgette Marie Preston—His other family
Case 2:23-cv-13209-JJCG-DRG ECF No..1,,PagelD.41 Filed 12/15/23 Page 41 of 52

ties are four brothers and two sisters which he supports and has contact with. Defendant's mother, Rhonda Smith
is deceased by natural causes in 2011. Defendant's father, Raymond Cardello-Smith died of natural causes when
Defendant was nine-years old.

Education Update

Writer verified the Defendant obtained a High School Diploma from Notre Dame High School while serving in
the United States Army. Defendant obtained an Associate's Degree from Wayne State University in Criminal
Law, Civil Rights Litigation, Post-Conviction Proceedings, Appellate Law, and two Certificates of Completion
from Blackstone School of Law and Blackstone Career Institute. Defendant is a 4th Degree Black Belt in Tae
Kwon Doe as verified by United Take Kwon Doe School Instructor, Master San Kwu Shim. Defendant also has
hand to hand training in Close Quarter Combat. While in the Special Branch of the US Amny - - Per HYTA
DIVERSION PROGRAM - - Defendant was discharged with an honorable status.

File Dp

Financial Update CATHY M. GARRETT
WAYNE COUNTY CLERK

2019 which will be available upon his release on the second-degree murder charge, and new second-degree
murder sentence when the case is resolved in civil litigation where defendant is representing himself. This Money
is not subject to the State Corrections Reimbursement Act under the Cobb’s agreement and settlement between
MDOC, WCPA magistrate, and Defendant.

ISE

Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.42 Filed 12/15/23 Page 42 of 52

CATHY M, GARRETT

REPORTING AGENCY: DETROIT POLICE DEPARTMENT WAYNE COUNTY CLERK
08011301

police REPORTED ON JULY 8, 1997 12:45AM OCCURRED ON JULY 24,199
AT EAST 8 & VAN DYKE ROADS-DETROIT,MI SCA/CENSUS: 10:09pmSECTO » AY 3, 2019

ei. HOMICIDE INCIDENTREPORT = [Terre

OFFENSE: HOMICIDE-SPECIAL CIRCUMSTANCES-MURDER:OFFENDER IS A REGISTER
DEFENSE EXPERT WITH TRAINING IN MARTIAL ARTS & HAND-TO-HAND COMBA’
HIGHTENED--BY INTENTIONAL OVERKILL & INTENTIONAL OVERQSE OF DEFENSE TACTICS-
OFFENDER KNEW 3 ASSAILANTS WERE CIVILIANS & NOT TRAINED COMBATANTS

1. ARRESTEE: DERRICK LEE CARDELLO- SMITH: AGE: 24SEXMALE : RACE: BLACK~ITALIAN-MEX-
ADDRESS : MS SRE-DETROIT, MI 48226--Phon cm
CTIM: : AGE:47:SEX MALE RACE CAUCASIAN/WHITE -No

Relationship to Suspect /Offender
Vv : AGE:53:SEX MALE:RACE CAUCASIAN/WHITE NO

Relationship to Suspect /Of fender

: AGE:44: SEX:MALE:RACE CAUCASIAN/WHITE No
relationship to Suepect /ortemier
OFFENSE DESCRIPTION: On July 7, 1997, Suspect DERRICK LEE CARDELLO-SMITH, Age
24, and His Girlfriend, aan wuummem Age 20, were leaving the AMC Movie
Theater on 8 Mile & Van Dyke Roads in Detroit, Michigan when the 2 were
approached by three Strangers known now as the above three named Victims. The
Deceased Victim CARL BISHOP and his two friends were leaving a Tavern/Bar,
when they came upon Derrick Lee Cardello-Smith & his Girlfriend were heading
to their car in the parking Lot and then passed the three Men who made
comments about the pair being an “Interracial Couple" and words were then
exchanged~-an Argument ensued between all the men involved with the Leader,
Carl Bishop becoming Enraged that the Suspect was with a woman of the
Opposite Race-She is Caucasian and Needs to stay within her own race, the
three men were saying. The Trio Started yelling obscenities at Cardello-Smith
and his Girlfriend. OJ KILLED HIS WOMAN so what this Nigger Here your with!

Offender Cardello-Smith was attempting to keep the matter from
getting more aggressive, when, according to witnesses and bystanders, two of
them men started fighting with Cardello-Smith, who saw that the Third Male,
Carl Bishop was physically attacking his Girlfriend, by slapping her and
calling her a "Nigger-Lover"" and "Race Traitor'".

Cardello-Smith was still engaged in fighting Gunter & Brock, when
his Girlfriend then yelled out, “Derrick Helpt"", Derrick then saw her and
saw that the (Decedent) Carl Bishop had in fact possessed a Sharp Edged
Weapon and/or knife and was about to Stab Derrick's Girlfriend while the
other 2 Men were keeping Derrick Busy and they were laughing, and then, the
next thing, Offender Cardello-Smith broke Gunters Arm, Broke the Leg of Mr.
Brock, immobilizing both parties and Cardello-~Smith then Ran and Intercepted
the knife by placing His Own Arm in between the Weapon and his Girlfriends
Upper Torse and then, the knife penetrated Mr. Cardello-Smith's Right
Forearm, and then, Cardello-Smith grabbed Carl Bishops Wrist and Pulled the
knife out of his arm and forced it into the Lungs of the Remaining Assailant,
Carl Bishop, Offender was heard saying to the now deceased Victim "You do not
like Interracial Couples! "You were going to Stab my Girl! "Now Your Going
to Die ina Filthy Parking Lot with Your Own Knife in your chest!"And then,
Cardello-Smith Punch the Victim Car Bishop 17 times and then the pair "Fell"
to the ground... Cardello-Smith then told the Victim, “You showld have let
this go andjust left us alone!" Die where you are YOu Racist Bitch!"

Derrick then went to the other 2 pair that were immobolized and
proceeded to kick them and break other bones on their bodies until he was
subdued by Officers who arrived on Scene.~The Victim Carl Bishop was taken to
Emergency Care at St. Johns Hospital where he succumbed to his injuries 2
weeks later---Derrick Cardello-Smith was taken in to custody for Open Murder.

Arrestee Transported to 9th Precint-Eastern District for holding and
processing pending Charges Review by Detectives Jose’ Ortiz & David Cobb

V2
Case 2:23-cv-13209-JJCG-D
: BG wf GEANR BAAR RASRFled 12/15/28 Page 49 of 52
REPORTING AGENCY: DETROIT POLICE DEPARTMENT

alee CASE REPORT NUMBER : 0801130106.1

© PRECINCT: SEX CRIMES UNIT PHONE: 313-596-5540

REPORTED ON: January '13. 2008 12:00 am OCCURRED ON: January 13, 2008 3:00 am OCCURRED BETWEEN: finuary 13, 2008 6:2058r”

OCCURRED AT: F/0 13870 EDMORE DETROIT SCA/CENSUS: O51, dsl FD
CATHY M. GARRETT

OFFENSE: CSC IST DEGREE -PENETRATION PENIS/VAGINA CODE: 11009 DPR SNF OLAMESH CLERK

1, ARRESTEE: DERRRICK SMITH AGE: 35 SEX: MALE RACE: BLACK a0

ma Phone Hm: j

2. VICTIM: LISA BOMMARITO AGE: 31 SEX: FEMALE RACE: WHITE ADDRESS A Relation Te
Phone Hm: unknown
3- VICTIM: ANDREA AGE: 21 SEX: FEMALE RACE: WHITE ADDRESS: Relationship to (1): relationship
BOMMARITO : Phone Hm: unknown
4, WITNESS: DAVID COBB AGE: unknown SEX: MALE RACE: BLACK ADDRESS EME Relationship to (1); relationship
. Phone Hm: Sa in the US Army together Cobb was
Smith’s Commander
WITNESS NARRATIVE: SARGEANT DAVID COBB, DETROIT POLICE DEPARTMENT WAS PRESENT DURING THE ASSAULT. TINA

BOMMARITO IDENTIFIED SERGEANT COBB AS HAVING A GUN TO ARRESTEB DERRICK SMITH’S HEAD AND FORCED ARRESTEE
SMITH TO ACKNOWLEDGE AND CLAIM HE WOULD RAPE THEM BOTH AND SARGEANT COBB FORCED ARRESTEE SMITH TO ACT

AS THOUGH A RAPE TOOK PLACE. ARRESTEE SMITH WRESTLED SARGEANT COBB’S SERVICE REVOLVER FROM COBB AND
DISCHARGED A ROUND INTO COBB'S PROTECTIVE VEST. ARRESTEE SMITH WAS ABLE TO SAVE SECONDARY WITNESS KATHY
PRESTON FROM COBB..

WEAPON USED: PERSONAL WEAPONS (HANDS, FEET,

TEETH, ETC.)

TOTAL PROPERTY VALUE: NONE

REPORTING OFFICER: P.O. NICOLE, RABIOR COMMAND: _5TH/EASTERN DISTRICT POS
VERIFIED BY; SGT. ELMER, FELTON COMMAND: 5TH/EASTERN DISTRICT ,

73
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.44 Filed 12/15/23 Page 44 of 52

[DETROIT POLICE DEPARTMENT FOLLOW-UP.
REPORT DETROIT POLICE DEPA

Case No. 0801130106

Report No. 0801130106.3
Report Date: 1/13/2008

File
CATHY M. GARR
WAYNE COUNTY CHERK

Page of 4

Subjeck

Case Report Stalus
County
CityfTownship

Occurred On

(and Belween)}
Location

csz

Census/Geo Code
Grid

Cai Source

Vehicle Activily
Vehicle Traveling
Cross Streal
Means

Other. Means

Motive
Other Motives

Raport Naralive

05-05-ED 12 CSC 1 ARR

MAY 3, 2019

s- SUBMITTED Dats Entered 4/13/2008 8:04:50 PM b Officer
82 - WAYNE Entered By 234406 - ORTIZ, JOSE 236839 - KNIGH Pe
99 - DETROIT Date Verified !
: Verified By Asalsied By
4/13/2008 3:00:00 AM Date Approved ‘ 237145 - RABIOR, NICOLE
1/13/2008 6:20:00 AM Approved By
F/O 13870 EDMORE Connecting Cases . Assist Agancy
‘DETROIT, MI 48205 : Olsposilion ARREST : :
5003 Tactical Actions
E1 - 0501 Clearance Reason
CAD/DISP Date of Clearance

Reporling Agency DETROIT POLICE DEPARTMENT
OWison = ~“S5th/Eastern District
Notified CIB-MILES SEX CRIMES ORTIZ N/C
SGT WALKER ED DESK SGT
DECKER

PO JOSE ORTIZ 4049 SEX CRIMES CODE 3510 WINTER FURLOUGH TAKEN.

WRITER IS THE OFFICER IN CHARGE OF SEX CRIME CASE 08-48 INVOLVING THE ARREST OF DEFENDANT DERRICK LEE
SMITH BM 35. WRITER INTERROGATED THE OFFENDER WHO REFUSED TO SIGN HIS RIGHTS FORM BUT AGREED TO
VERBALLY GIVE WRITER HIS VERSION OF THE EVENTS INVOLVING THE VICTIMS, TINA AND ANDREA BOMMARITO. MR.
SMITH STATED TO WRITER THAT HE MET TINA BOMMARITO AT THE OSLO BAR A WEEK AGO AND WAS TOLD TO MEET
HER AT THE SAME BAR THIS MORNING. MR. SMITH STATES THAT HE MET BOTH.COMPLAINANTS AT THE BAR AND
THAT HE BOUGHT THEM DRINKS AND PARTIED WITH THEM UNTIL 3:00AM. MR. SMITH STATES THAT THE ,
COMPLAINANTS OFFERED HIM A RIDE HOME AND THAT THEY CONSENTED TO HAVING SEX WITH HIM IN TINA'S CAR. '
MR. SMITH STATES THAT TINA IS A DOMINATRIX WHO ORDERED HIM AT KNIFEPOINT TO HAVE SEX WITH TINA AND HER
SISTER. MR. SMITH STATES THAT HE WAS TOLD BY TINA TO EJACULATE INSIDE OF HER SO THAT SHE COULD HAVE A
"NIGGER" BABY SO THAT SHE COULD GET BACK AT HER BOYFRIEND. MR. SMITH STATES THAT BOTH COMPLAINANTS
WERE PERFORMING CUNNILINGUS ON EACH OTHER WHILE HE WAS HAVING SEX WITH HIM. WHEN CONFRONTED
ABOUT THE POLICE DISPATCHER HEARING HIS THREATS TOWARDS THE VICTIMS MR. SMITH RESPONDED THAT HE
WAS TOLD BY THE GIRLS TO SAY THOSE THINGS. MR. SMITH ALSO STATES THAT THE VICTIMS WERE PLANNING ON
KILLING HIM. MR. SMITH ALSO STATED THAT HE HAS TINAS BUSINESS CARD IN HIS PROPERTY. WRITER CHECKED THE
PROPERTY AND DID FIND TINA BOMMARITO'S BUSINESS CARD CLASSIFYING HERSELF AS A MASSEUSE. TINA
INFORMED WRITER THAT SHE DID GIVE HIM HER CARD AT THE SAR WHEN THEY INITIALLY MET. MR. SMITH REFUSED
TO WRITE ANTHING DOWN STATING HE SERVED 10 YEARS IN PRISON FOR CSC 3 BASED ON STATEMENTS HE WROTE
TO THE DETECTIVES ON HIS PREVIOUS CASE IN 1997. ' , .

Offense Detail: 1171 - CSC IST DEGREE -PENETRATION PENIS/VAGINA

Offense Description
1BR Code

IBR Group

Crime Against
Oltfenss File Class

PAGC
Local Code

Using
Criminal Aativily
Weapons

4474 - CSC IST DEGREE -PENETRATION PENIS/VAGINA

441A - FORCIBLE RAPE Location 43 - HIGHWAY/ROAD/ALLEY

A Offense Completed? YES No. Pram. Enlared
PE Hale/Blas 00 - NONE (NO BIAS) Entry Method ~
41001 - SEXUAL PENETRATION Domestic Violence = NO Type Security

PENIS/VAGINA -CSC LST DEGREE
Toals Used

40 - PERSONAL WEAPONS (HANDS, FEET, TEETH, ETC.)

Suspect $1: SMITH, DERRICK LEE

Suspaol Number
Name

NeiRMS_MICR. rtf v2E

S41 p08 , Place of Birth
SMITH, DERRICK LEE Age 635 SSN

SS : Printed For:

Prinled: January 13, 2008 - 6:26 PM
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.45 Filed 12/15/23 Page 45 of 52

5ETROIT POLICE DEPARTMENT FOLLOW-UP
REPORT

Case No. 0801130106

DETROIT POLICE DEPARTMENT

Report No. 0801130106.3
Report Date: 1/13/2008
Nolified Adult Present Held flor M AY 3 20 i
Arrest Noles * 4

Victim V1: BOMMARITO, TINA

Vielm Code
Victim Type

Name
AKA
Aleri(s)

Address
CSZ

Home Phons
Work Phone

Aulire

inuy = =M - APPARENT MINOR INJURY

Circumstances

v1
1 - INDIVIDUAL

BOMMARITO, TINA

ViclmOf 4474 -CSGC IST DEGREE -PENETRATION PENIS/VAGINA

cos Place of Birth

Age 34 . SEN

Sex F - FEMALE OLN

Race W-WHITE DLN State
Elhnielly U -UNKNOWN DLN County
HL Occupatlon/Grade

WL Employer/School

Eys Color Res. Counly
Hair Color Res, Country
Facial Halr Residenl Status
Complexian Teslly

S - RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED

Law Enforcement Type Justifiable Homicide
Officer Killed ar Circumst
‘Assaulted Assignment anes’
information Activity
Other ORI
y fender Rulatonshid
Offender Relallonship .
Al 99 - RELATIONSHIP UNKNOWN
51 99 - RELATIONSHIP UNKNOWN
Viallm Noles

Victim: V2: BOMMARITO, ANDREA

Victim Code
Victim Type

Name
AKA
Alert(s)

Address
CSZ

Home Phone
Work Phone

Attire
Injury
Circumslancas

NetRMS_MICP.rif v2f

V2
1 - INDIVIDUAL

BOMMARITO, ANDREA

M - APPARENT MINOR INJURY

VielmOf 4474 - CSC IST DEGREE -PENETRATION PENIS/VAGINA

oo Place of Birth

Age 21 SSN

Sex F «FEMALE DLN

Race WW -WHITE DLN Siale
Elhnicly U -UNKNOWN DLN Country
Ht Occupalion/Grade

. Wt EmployerSchool
Eye Calor Res, Counly
Hair Color Ras, Country
Feclat Hair Resident Slalus
Complexion Tesllly

LO”

S - RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED

Printed: January 13,2008 - 8:26 PM
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.46 Filed 12/15/23 Page 46 of 52

| DETROIT POLICE DEPARTMENT FOLLOW-UP
REPORT

Case No. 0801130106

Report No. 0801130106.3
Report Date: 1/13/2008

DETROIT POLICE DEPARTMENT

AIA Sex M-MALE
Alert(s) Race =B- BLACK
Ethnicty U - UNKNOWN DLN Caufiiry
Address Ht Occupation!
csz Wt Emplayer/Schor
Eye Color Res. Counly d
Home Phone Hair Color Res, Country :
Work Phone Halr Style Resident'Slaus R- RESIDENT OF THE
COMMUNITY, CITY,
OR TOWN WHERE
THE OFFENSE
OCCURRED
Hale Length
Facial Hair
Complexion
Bulld
Teeth
Scars/Marks/Talloos
Suspecl MO
Other MO
Altre
Habltual Offender
Status
Suspect Noles
Arrestee A1: SMITH, DERRRICK LEE
Arrestes Number Af DOB a Place of Binh
Name SMITH, DERRRICK LEE Age = 35 : SSN
AKA Sex M-MALE DLN
Aleri(s) © Race B- BLACK DLN Slate
Ethnicity U - UNKNOWN DLN Country
Addres: He =§'40" Occupatlon/Grade
cs We 170 Employer/Schoot
Eye Color Res, Courily
Home Phon Hair Color Res, Country
_ Work Phoni Halr Style Resident Stalus = - RESIDENT OF THE
COMMUNITY, GITY,
OR TOWN WHERE
THE OFFENSE
_ OCCURRED
Halr Length
Facial Hair
Compleion LBR - LIGHT BROWN
Buld = § - SMALL
Teeth
Scars/Marks/Tatioos
Modus Operand
Olher MO
AtUre
Habitual Offender
Status
ArresiNo. 116081 AnestedFor 4471 -CSC IST DEGREE -PENETRATION PENIS/VAGINA
Arrest Type = T- TAKEN INTO CUSTODY Cauni
Fores tevel 01 -LEVEL 1 Fingerprints Aresied On 4/43/2008 6:30:00 AM
FBI No. Photos " Arresi Locallon 43870 EDMORE]
Slate No, Miranda Read Booked On
Armed Wilh 01 - UNARMED Mirands Waived Sooked Location

Mull. Clearance

Mull. Clearance
Offense
Prev. Suspect No,

NetRMS_MICR. rf v2s

N-NOT APPLICABLE

Number of Warrants

duveniie Disposition

1@

Released Location
Released Gn

Released By
Release Reason

Printed: January 13, 2008 - 6:26 PM
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.47 Filed 12/15/23 Page 47 of 52

DETROIT POLICE DEPARTMENT FOLLOW-UP
REPORT

Case No. 0801130106
Report No. 0801130106.3
Report Date: 1/13/2008

DETROIT POLICE DEPARTMENT

File
CATHY M. GAR
WAYNE COUNTY CLERK

Page 4 of 4

Law Enforcement Type Jusiltiaple Homicide
Officer Kited : Cireurnslances
‘Assault ed oF Assignment

information Activity

DiharoRt
“aetna
. Olfender ~ Relatlonship
Ai 99 - RELATIONSHIP UNKNOWN
S1 99 - RELATIONSHIP UNKNOWN
Victim Noles

NeiRMS_MICR, Af var Printed: January 13, 2008 - 8:26 PM
Case “De 13209- oS DRG ECEN BLY pps} As Filed 12/15/23 Page 48 of 52

(Adi EKHL- E+
LAW OFFICES OF DAVID L. MOFFITT & ASSOCIAT

ATTORNEYS AND COUNSELORS AT LAW

THE BINGHAM CENTER. FiLEbD
30800 TELEGRAPH ROAD, SUITE 1705 CATHY M. GARRETT
BINGHAM FARMS, MICHIGAN 48025
TELEPHONE (248)-644-0880 WAYNE COUNTY CLERK
FACIMILE (248)-307-9545
DLMOFFITTASSOC@AMERITECH.NET
VISIT US ON THE WEB AT WWW.LAWYERMOFFITT.COM M AY 3 20 Q
November 3, 2022
Derrick Smith #267009
Ionia Correctional Facility
1576 W. Bluewater Highway
Tonia, MI 48846
Re: FOIA Documents
Dear Mr. Smith: . x

Please find enclosed the FOIA documents that we received on your behalf from the Wayne -
County Prosecutor’s Office. Anything within these sets of documents that have been redacted
were done so by Wayne County. Thank you. ,

Yours truly,

Patrick Kinney

Chief of Legal Staff/Chief Paralegal '
‘LAW OFFICES OF DAVID L. MOFFITT
& ASSOCIATES, PLLC

VS
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.49 Filed 12/15/23 Page 49 of 52

Beng CONSTITUTIONAL RIGHTS
Selee CERTIFICATE OF NOTIFICATIF
Tecticg Lee Sees\y | Mineetsivee

Q-\35

MAY 3, 2019

I understand that:

1. Ihave a right to remain silent and that I do not have to answer any questions put to me or make any
statements.

—— 2, Any statement I make or anything I say will be used against me in a Court of Law.

3. I have the right to have an attorney (lawyer) present before and during the time I answer any
questions or make any statement..

_. 4, If I cannot afford-an attorney (lawyer), one will be appointed for me without cost by the Court
prior to any questioning.

5. Ican decide at any time to exercise my rights and not answer any questions or make any statement.

I understand that these are my rights under the Law. T have not been threatened or promised anything, and
I now desire and agree to answer any questions put to me or to make a statement.

In the presence of:

WITNESS SIGNATURE
HY ~h
WITNESS DATE TMs

This certificate of notification was read to the suspect, and he/she had an opportunity to read it. Further,
the suspect was given an opportunity to ask any questions that he/she might have concerning. this cer-
tificate and his/her rights.

Suspect is illiterate. He/she has had the rights under the law, as defined above, explained to him/her, and
has agreed to answer quéstions or make a statement.

Suspect can read and write. The rights, as defined above, have been explained to him/her, and he/she
has agreed to make a voluntary statement ‘but has ¢efused to sign this certificate.

REMARKS: Rees Se MNO S vA we
\ NO

\vs\ed \O; SOAR . Sse SP, Scv
DAT. ‘ TIME OFTTCHR, y PCT./SECTION

PLACE OFFICER PCT./SECTION

C of O—78-CE (Rev. B-75} O,P.0, 142-B

Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.50 Filed 12/15/23 Page 50 of 52

a HOMICIDE RE
AMENDED

REPORTING AGENCY: DETROIT POLICE DEPAR
CASE REPORT NUMBER: 0811306,1

WAYNE COUNTY CLERK

MAY 27, 1998

REPORTED ON JULY 24, 1997 00:45AM OCCURRED ON JULY 8, 1997
AT EAST 8 MILE & VAN DYKE ROADS-DETROIT, MI SCA/10:09PM SECTOR A 9TH

1. ABRESTRE: DERRICK LEZ CARDELLO- SMITH
ADDRESS: 00 MMMNE-DETROIT, MI 48205-26--Phone Sa-Sm-
: :AGE 47:SEX:MALE-RACE:CAUCASIAN/WHITE- No

Relationship to Suspect/Offender--
: :AGE:53: SEX :MALE-~RACE : CAUCASIAN/WHITE-
No Relationship to Suspect/Offender
: AGE: $$ : SEX : MALE-RACE : CAUCASIAN/ WHITE-
No Relationship to Suspect/Offender
OFFENDER DESCRIPTION: On or About July 7/8, 1997, Suspect DERRICK LEE
CARDELLO-SMITH, Age 24, and His Female Companion MS Mame age 20, were
leaving the AMC Movie Theater on 8 Mile & Van Dyke Roads in Detroit, MI when
the 2 were approached by Three Strangers known now as the above Three Named
Victim/Attackers. The deceased Victim CARL BISHOP and his 2 friends were
leaving a Tavern/Bar Adjacent to the Theater when they came upon Derrick Lee
Cardello-Smith and his Girlfriend heading to their Car (1997 Chevy Camaro Z-
28) and as they passed by the 3 Victims/Attackers, Comments were made about
the pair being an “Interacial-Couple” and words were exchanged--An argument
ensued between all Men with the Leader, Carl Bishop becoming enraged that the
Suspect was with a “Woman of the Opposite Race!" hat she is White and Needs
to ‘Stay within Her own Race". The Trio them Started Yelling to Offender
Cardello-Smith that "O.J. KILLED HIS WOMAN, so Will this Nigger Your With!"
Offender Cardello-Smith was attempting to keep the matter from
getting more aggressive, when, according to Witnesses and bystanders, two of
the three men started fighting Cardello-Smith, who saw the Third Mail, Carl
Bishop was physically attacking his Girlfriend by slapping her with his Hand
to face contact, and calling her a “Nigger-Lover" and "Race Traitor!"
Cardello-Smith was still Engaged with Gunter & Brock when his
Girlfriend yelled out, "Derrick Help!", Derrick then saw her and saw that the
(Decedent) Carl Bishop had in fact Brandished a Sharp Edged Weapon and/or
Knife and was about to Stab his Girlfriend while the Other 2 Men were keeping
Derrick Busy and they were Laughing, and then, According to Witnesses,
Cardello-Smith broke Gunter's Arm, Broke the Leg of Brock, immobilizing them
both and Cardello-Smith then Ran & Intercepted the knife by Placing His Own
Arm in between the Blade of the Weapon and His Companions Body/Upper torso,
the Knife then Penetrated Cardello-Smith's Right Forearm and Cardello-Smith
grabbed Carl Bishop's Wrist Pulling the Knife out and Forced it into the
Lungs of the remaining Victim/Attacker Carl Bishop. Offender Cardello-Smith
was then heard saying “You were going to Stab my Date! Now Your Going to Die
in a Filthy Parking Lot, You should have Just Let us Bel" "Die Where You Are
You Racist Bitch!" Cardello-Smith then went to his Companion who was Shaken.
Derrick then Went to the Other 2 Pair that were already
immobilized and proceeded to Kick them and Fracture other parts of their
bodies until he was Subdued by Officers who arrived on Scene--The Victim Carl
Bishop was taken to Emergency Triage at St. Johns Hospital where he Succumbed
to his Injuries 2 Weeks later-~-Cardello-Smith was then taken into Custody for
Open Murder.
Arrestee transported to Sth Precinct for Holding/Charging
Purposes review by Detective Jose' Ortiz and Sgt. David Cobb.

IO
Case 2:23-cv-13209-JJCG-DRG ECF No. 1, PagelD.51 Filed 12/15/23 Page 51 of 52

CATHY M, GARRETT
REPORTING AGENCY: DETROIT cane DEPARTMENT WAYNE COUNTY CLERK
A 3 11301

x, HOMICIDE INCIDENTREPORT = [riceo

police REPORTED ON JULY 8, 1997 12:45AM OCCURRED ON JULY 24,199
AT EAST 8 & VAN DYKE ROADS-DETROIT,MI SCA/CENSUS:10:09pmSECTO

OFFENSE: HOMICIDE-SPECIAL CIRCUMSTANCES-MURDER:OFFENDER IS A REGISTER
DEFENSE EXPERT WITH TRAINING IN MARTIAL ARTS & HAND-TO-HAND COMBA’
HIGHTENED~-BY INTENTIONAL OVERKILL & INTENTIONAL OVERUSE OF DEFENSE TACTICS-~
OFFENDER KNEW 3 ASSAILANTS WERE CIVILIANS & NOT TRAINED COMBATANTS

1, _ARRESTEE: DERRICK LEE CARDELLO-SMITH: AGE: 24SEXMALE: RACE : BLACK~ITALIAN-MEX-~
ADDRESS: RM BEMME-DETROIT, MI 48226--Phone

VICTIM: P: AGE:47:SEX MALE RACE CAUCASIAN/WHITE -No
Relationship to Suspect/Offender

vic : ; AGE:53:SEX MALE:RACE CAUCASIAN/WHITE NO

Relationship to Suspect/Offender

: Vv, AGE:44: SEX:MALE:RACE CAUCASIAN/WHITE No
relationship to Suspect/Offender

: On July 7, 1997, Suspect DERRICK LEE CARDELLO-SMITH, Age
24, and His Girlfriend, Mum mummMM Age 20, were leaving the AMC Movie
Theater on 8 Mile & Van Dyke Roads in Detroit, Michigan when the 2 were
approached by three Strangers known now as the above three named Victims. The
Deceased Victim CARL BISHOP and his two friends were leaving a Tavern/Bar,
when they came upon Derrick Lee Cardello-Smith & his Girlfriend were heading
to their car in the parking Lot and then passed the three Men who made
comments about the pair being an "Interracial Couple" and words were then
exchanged~-an Argument ensued hetween all the men involved with the Leader,
Carl Bishop becoming Enraged that the Suspect was with a woman of the
Opposite Race-She is Caucasian and Needs to stay within her own race, the
three men were saying. The Trio Started yelling obscenities at Cardello-Smith
and his Girlfriend. OJ KILLED HIS WOMAN so what this Nigger Here your with!

Offender Cardello-Smith was attempting to keep the matter from
getting more aggressive, when, according to witnesses and bystanders, two of
them men started fighting with Cardello-Smith, who saw that the Third Male,
Carl Bishop was physically attacking his Girlfriend, by slapping her and
calling her a "Nigger-Lover"" and "Race Traitor'".

Cardello-Smith was still engaged in fighting Gunter & Brock, when
his Girlfriend then yelled out, “Derrick Help!"", Derrick then saw her and
saw that the (Decedent) Carl Bishop had in fact possessed a Sharp Edged
Weapon and/or knife and was about to Stab Derrick's Girlfriend while the
other 2 Men were keeping Derrick Busy and they were laughing, and then, the
next thing, Offender Cardello-Smith broke Gunters Arm, Broke the Leg of Mr.
Brock, immobilizing both parties and Cardello-Smith then Ran and Intercepted
the knife by placing His Own Arm in between the Weapon and his Girlfriends
Upper Torse and then, the knife penetrated Mr. Cardello-Smith's Right
Forearm, and then, Cardello-Smith grabbed Carl Bishops Wrist and Pulled the
knife out of his arm and forced it into the Lungs of the Remaining Assailant,
Carl Bishop, Offender was heard saying to the now deceased Victim "You do not
like Interracial Couples! "You were going to Stab my Girl! 'Now Your Going
to Die ina Filthy Parking Lot with Your Own Knife in your chest!"And then,
Cardello-Smith Punch the Victim Car Bishop 17 times and then the pair "Felli"
to the ground... Cardello-Smith then told the Victim, "You should have let
this go andjust left us alone!" Die where you are YOu Racist Bitch!"

Derrick then went to the other 2 pair that were immobolized and
proceeded to kick them and break other bones on their bodies until he was
subdued by Officers who arrived on Scene.-The Victim Carl Bishop was taken to
Emergency Care at St. Johns Hospital where he succumbed to his injuries 2
weeks later-~-Derrick Cardello-Smith was taken in to custody for Open Murder.

Arrestee Transported to 9th Precint-Eastern District for holding and
processing pending Charges Review by Detectives Jose’ Ortiz & David Cobb

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